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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                              )
    In re:                                                    )   Chapter 11
                                                              )
    ART VAN FURNITURE, LLC ., et al., 1                       )   Case No. 20-10553 (CSS)
                                                              )
                                    Debtors.                  )   (Jointly Administered)
                                                              )
                                                              )   Re: Docket No. 49

   INTERIM ORDER: (I) AUTHORIZING SECURED POST-PETITION FINANCING
 PURSUANT TO 11 U.S.C. SECTIONS 105, 361, 364(c) AND 364(d); (II) SCHEDULING A
          FINAL HEARING; AND (III) GRANTING RELATED RELIEF

             Upon the motion (the “Motion”) 2 of the debtors and debtors in possession (collectively,

the “Debtors”) in the above-captioned Chapter 11 cases (collectively, the “Cases”), seeking among

other relief, inter alia, an order (this “Interim Order”) pursuant to sections 105, 361, 364(c)(1),

364(c)(2) and 364(d) of chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”)

and Rule 4001 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) inter alia:

             (i)       authorizing Sam Levin, Inc. (“DIP Borrower”), authority to obtain postpetition

financing and grant a senior purchase money security interest in the DIP Collateral (as defined

below) 3 to Levin Furniture, LLC “DIP Lender”), solely with respect to DIP Collateral purchased




1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
      identification number, include: Art Van Furniture, LLC (9205); AVF Holding Company, Inc. (0291);
      AVCE, LLC (2509); AVF Holdings I, LLC (2537); AVF Holdings II, LLC (7472); AVF Parent, LLC
      (3451); Levin Parent, LLC (8052); Art Van Furniture of Canada, LLC (9491); AV Pure Sleep
      Franchising, LLC (8968); AVF Franchising, LLC (6325); LF Trucking, Inc. (1484); Sam Levin, Inc.
      (5198); and Comfort Mattress LLC (4463). The location of the Debtors’ service address in these
      chapter 11 cases is: 6500 East 14 Mile Road, Warren Michigan 48092.
2
      Capitalized terms used herein but not otherwise defined shall have the meanings ascribed to such terms
      in the Motion.
3
      As used in this Interim Order, “DIP Collateral” shall mean and include all of the following personal
      property assets of the DIP Borrower, whether now in existence or hereafter acquired or arising, and
      wherever located:



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with the Advances made postpetition to DIP Borrower together with superpriority administrative

expense status and adequate protection to the DIP Lender in accordance with this order; and

        (ii)        scheduling a final hearing (the “Final Hearing”) within twenty days of the




       (a) all inventory of the DIP Borrower purchased solely with the proceeds of any Advances made
    under the DIP Credit Agreement;
       (b) all receivables of the DIP Borrower arising out of the sale of inventory referred to in clause (a)
    above;
         (c) all right, title and interest in and to (i) all inventory returned or rejected by customers previously
    sold by the DIP Borrower giving rise to receivables referred to in clause (b) above, (ii) all of DIP
    Borrower’s rights as a consignor, a consignee, an unpaid vendor, mechanic, artisan, or other lienor,
    including stoppage in transit, setoff, detinue, replevin, reclamation and repurchase with respect to any
    of the foregoing (a) or (b), (iii) all additional amounts due to DIP Borrower from any customer relating
    to the receivables set forth in clause (b) above, (iv) other property, including warranty claims, relating
    to any of the foregoing (a) and (b), (v) all of DIP Borrower’s contract rights, rights of payment which
    have been earned under a contract right, instruments (including promissory notes), documents, chattel
    paper (including electronic chattel paper), warehouse receipts, deposit accounts, letters of credit and
    money relating to any of the foregoing (a) and (b), (vi) all commercial tort claims (whether now existing
    or hereafter arising) relating to any of the foregoing (a) and (b), and (vii) if and when obtained by DIP
    Borrower, all real and personal property of third parties in which DIP Borrower has been granted a lien
    or security interest as security for the payment or enforcement of receivables referred to in clause (b);
         (d) ledger sheets, ledger cards, files, correspondence, records, books of account, business papers,
    computer software (owned by Borrower or in which it has an interest and in which the granting of a
    security interest therein is not expressly prohibited), computer programs, tapes, disks and documents
    relating to (a), (b) or (c) of this definition; and
         (e) proceeds and products of (a), (b), (c) or (d) of this definition in whatever form, including, but
    not limited to cash, deposit accounts (whether or not comprised solely of proceeds), certificates of
    deposit, insurance proceeds (including hazard and credit insurance), negotiable instruments and other
    instruments for the payment of money, chattel paper, security agreements, documents and tort claim
    proceeds.
    Notwithstanding anything to the contrary in this Interim Order or the DIP Credit Agreement, the term
    "DIP Collateral" shall not include any lease, license, contract, property right or agreement (or any of
    its rights or interests thereunder) if and to the extent that the grant of the security interest shall, after
    giving effect to Sections 9-406, 9-407, 9-408 or 9-409 of the Uniform Commercial Code (or any
    successor provision or provisions), the Bankruptcy Code or any other applicable law, constitute or result
    in (i) the abandonment, invalidation or unenforceability of any right, title or interest of Borrower therein
    or (ii) a breach or termination pursuant to the terms of, or a default under, any such lease license,
    contract, property rights or agreement; provided, however, that (y) the Collateral excluded hereby shall
    not include any and all proceeds of such property rights or agreements or any right, title or interest of
    Borrower therein, and (z) the security interest shall attach immediately at any such time as the restriction
    resulting in abandonment, invalidation or unenforceability or breach or termination shall be removed
    or any condition thereto (including any consent) shall be satisfied.




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    Petition Date to consider the relief requested in the Motion on a final basis (the “Final Order”) and

    approving the form of notice with respect to the Final Hearing.

            The Court having considered the Motion, the exhibits attached thereto, Declaration of

    David Ladd, Executive Vice President and Chief Financial Officer of Art Van Furniture, LLC, in

    Support of Chapter 11 Petitions and First Day Motions (D.I. 20) and the evidence submitted and

    argument made at the first day hearing held on March 10, 2020 and the interim hearing held on

    March 12, 2020 (the “Interim Hearing”); and notice of the Interim Hearing having been given in

    accordance with Bankruptcy Rules 2002, 4001(b) and (d), and all applicable local rules of the

    United States Bankruptcy Court for the District of Delaware (the “Local Rules”); and the Interim

    Hearing having been held and concluded; and all objections, if any, to the interim relief requested

    in the Motion having been withdrawn, resolved or overruled by the Court; and it appearing that

    approval of the interim relief requested in the Motion is necessary to avoid immediate and

    irreparable harm to the Debtors and their estates pending the Final Hearing, and otherwise is fair

    and reasonable and in the best interests of the Debtors, their estates, and all parties in interest, and

    is essential for the continued operation of the Debtors’ businesses and the preservation of the value

    of the Debtors’ assets; and after due deliberation and consideration, and good and sufficient cause

    appearing therefor;

    BASED UPON THE RECORD ESTABLISHED AT THE INTERIM HEARING, THE

    COURT MAKES THE FOLLOWING FINDINGS OF FACT AND CONCLUSIONS OF

    LAW: 4




4
    The findings and conclusions set forth herein constitute the Court’s findings of fact and conclusions of law
    pursuant to Bankruptcy Rule 7052, made applicable to this proceeding pursuant to Bankruptcy Rule 9014.
    To the extent that any of the following findings of fact constitute conclusions of law, they are adopted as




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                A.      Petition Date. On March 8, 2020 (the “Petition Date”), each of the Debtors

filed a voluntary petition for relief under chapter 11 of the Bankruptcy Code with the United States

Bankruptcy Court for the District of Delaware (the “Court”).

                B.      Debtors in Possession. The Debtors have continued in the management

and operation of their businesses and properties as debtors in possession pursuant to sections 1107

and 1108 of the Bankruptcy Code.

                C.      Jurisdiction and Venue. This Court has jurisdiction over the Cases, the

Motion, and the parties and property affected hereby pursuant to 28 U.S.C. §§ 157 and 1334.

Venue for the Cases and proceedings on the Motion is proper before this Court pursuant to 28

U.S.C. §§ 1408 and 1409.

                D.      Committee Formation. As of the date hereof, the United States Trustee

for the District of Delaware (the “U.S. Trustee”) has not appointed an official committee of

unsecured creditors in these Cases pursuant to section 1102 of the Bankruptcy Code (a

“Committee”).

                E.      DIP Loan. DIP Borrower proposes that it obtain post-petition financing

(the “DIP Facility”) from the DIP Lender pursuant to the terms set forth in this Interim Order and

in that certain form of Debtor-In-Possession Credit and Security Agreement (the “DIP Credit

Agreement”) and that certain Revolving Credit Note (collectively with the DIP Credit Agreement,

the “DIP Loan Documents”), each in substantially the form as filed on the docket in these chapter

11 proceedings on March 13, 2020.

                F.      Debtor Operations.         DIP Borrower is unable to operate without the


such. To the extent any of the following conclusions of law constitute findings of fact, they are adopted as
such.




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Liquidity provided by the DIP Facility.

                G.      Inability to Obtain Alternative Credit. DIP Borrower asserts that it is

unable to obtain unsecured credit allowable under Bankruptcy Code Section 503(b)(1) as an

administrative expense in an amount necessary to fund operations and that financing on a post-

petition basis is not otherwise available to pay operating expenses or wage obligations to its

employees without the DIP Borrower granting, pursuant to Bankruptcy Code Section 364(c)(1),

claims having priority over any and all administrative expenses of the kinds specified in Sections

503(b) and 507(b) of the Bankruptcy Code and the granting of a senior priming lien pursuant to

Bankruptcy Code Section 364(d).

                H.      Good Faith. The DIP Lender and the DIP Borrower have negotiated at

arms’ length and in good faith regarding the DIP Facility. Entry of this Interim Order is in the best

interests of the Debtors, their estates and their creditors.

                I.      Immediate Entry. Sufficient cause exists for immediate entry of this

Interim Order pursuant to Bankruptcy Rule 4001(c)(2).

                J.      Interim Debt Limit. The DIP Borrower has requested immediate entry of

this Interim Order so that the DIP Lender will advance funds in an amount not to exceed

$10,000,000.00 during this Interim Period in accordance with the DIP Loan Documents.

                K.      Avoid Immediate and Irreparable Harm. The partial relief granted

herein to obtain the Interim DIP Loan (as defined herein) is necessary to avoid immediate and

irreparable harm to the Debtor’s estate. This Court concludes that entry of this Interim Order is in

the best interests of the Debtor’s estate and creditors as its implementation will, among other

things, allow for the Debtor to continue servicing its necessary contracts and providing services to

its customers without interruption.




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          L.            Interim Hearing. Notice of the Interim Hearing and the relief requested in

the Motion has been provided by the Debtors, whether by facsimile, electronic mail, overnight

courier or hand delivery, to certain parties-in-interest, including: (i) the U.S. Trustee; (ii) those

entities or individuals included on the Debtors’ list of 30 largest unsecured creditors on a

consolidated basis; (iii) counsel to the Prepetition ABL Agent; (iv) counsel to the Prepetition Term

Loan Agent; (v) counsel to the Consultant (as defined in the Consulting Agreement); and (v) all

other parties entitled to notice under the Bankruptcy Rules and the Local Rules.

          Based upon the foregoing findings and conclusions, the Motion and the record before the

Court with respect to the Motion, and after due consideration and good and sufficient cause

appearing therefor,

          IT IS HEREBY ORDERED that:

                 1.     Motion Granted. The Motion is granted.

                 2.     Authorization For Interim DIP Loan. The DIP Borrower is expressly

authorized and empowered to obtain credit pursuant to the DIP Loan Documents and this Interim

Order on an interim basis (the “Interim DIP Loan”) for the purchase of inventory during the Interim

Period.

                 3.     Terms of the Interim DIP Loan. The terms of the Interim DIP Loan are

governed by the DIP Loan Documents between the DIP Lender and the DIP Borrower, as modified

by this Interim Order; provided, however, notwithstanding anything to the contrary in the Motion

or the forms of the DIP Loan Documents annexed to the Motion: (a) the “Maximum advance

Amount” (as defined in the DIP Credit Agreement) shall be Twenty Million and 00/100 U.S.

dollars ($20,000,000.00); (b) the aggregate balance of outstanding advances outstanding at any

time pursuant to this Interim Order shall not exceed Ten Million and 00/100 U.S. dollars




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($10,000,000.00); and Section 14(a)(i) of the DIP Credit Agreement is deemed amended to strike

the text “[April 7, 2020]” and replace it with “April 9, 2020”. The Debtors are authorized to revise,

execute and deliver the DIP Loan Documents to conform with this Paragraph 3.

                 4.    Additional DIP Loan Documents; Non-Material Amendments. The DIP

Borrower may enter into such other agreements, instruments and documents as may be necessary

or required or requested by the DIP Lender in its sole discretion to evidence the Interim DIP Loan

and to consummate the terms and provisions contemplated by the DIP Loan Documents and this

Interim Order and to evidence perfection of the liens and security interests to be given to Lender

hereunder. The DIP Borrower and the DIP Lender may enter into any nonmaterial amendments

of or modification to the DIP Loan Documents without the need of further notice and hearing or

order of this Court.

                 5.    The DIP Indebtedness. The Interim DIP Loan and all other indebtedness

and obligations incurred by the DIP Borrower on or after the Petition Date with respect to loans,

advances and any other indebtedness or obligations, contingent or absolute, pursuant to this Interim

Order and the Interim DIP Loan which may now or from time to time hereafter be owing by the

DIP Borrower to the DIP Lender (including principal, accrued and unpaid interest, fees, costs and

expenses, including without limitation reasonable attorneys’ fees and expenses, and any other

amounts owed under this Order or the DIP Loan Documents) are referred to herein as the “DIP

Indebtedness”.

                 6.    Interest, Fees, Costs and Expenses. The DIP Indebtedness shall bear

interest at the applicable non-default rate as set forth in the Motion and in the DIP Loan

Documents. Notwithstanding the foregoing, nothing in this Interim Order shall be construed to




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 limit or otherwise impair the liability of the DIP Borrower for all of the DIP Indebtedness under

 the DIP Loan Documents.

                 7.      Termination of the DIP Loan. DIP Lender’s obligation to provide the

 Interim DIP Loan shall immediately and automatically terminate (except as DIP Lender may

 otherwise agree in writing in its sole discretion), and all DIP Indebtedness shall be immediately

 due upon the earlier of (i) closing of a § 363 sale of substantially all of the DIP Borrower’s assets;

 or (ii) the occurrence of an Event of Default (as defined in the DIP Loan Documents). In the event

 of a postpetition default of the terms of this Interim Order and/or the DIP Loan Documents, the

 DIP Lender may declare the DIP Indebtedness immediately due and owing; provided that the DIP

 Lender may not exercise any remedies against the DIP Borrower upon default without first

 providing five (5) business days’ notice of default to the DIP Borrower, obtaining a hearing date

 and without further order of the Court.

                 8.      DIP Intercreditor Provisions. Notwithstanding anything to the contrary

 herein, (a) the DIP Lenders shall not have a lien on any Prepetition or Postpetition Collateral 5 that

 is not DIP Collateral, (b) the Prepetition ABL Agent (for the benefit of itself and the Prepetition

 ABL Lenders) shall have a lien (and corresponding adequate protection lien) on the DIP Collateral,

 junior only to the DIP Lenders and the Prepetition ABL Permitted Prior Liens, (c) the Prepetition

 Term Loan Agent (for the benefit of itself and the Prepetition Term Loan Lenders) shall have a

 lien (and corresponding adequate protection lien) on the DIP Collateral, junior only to the DIP

 Lenders, the Prepetition ABL Agent and the Prepetition Term Loan Permitted Prior Liens, (d) the


 5
     Capitalized terms used in this paragraph 8 but not otherwise defined shall have the meanings ascribed
     to such terms in the Interim Order (I) Authorizing the Debtors to Use Cash Collateral, (II) Granting
     Adequate Protection to the Prepetition Secured Parties, (III) Modifying the Automatic Stay, (IV)
     Scheduling a Final Hearing, and (V) Granting Related Relief (D.I. 93) (the “Interim CC Order”).




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 DIP Indebtedness shall not be repaid from (or have any recourse to) any proceeds of Prepetition

 or Postpetition Collateral that is not DIP Collateral, and (e) the Debtors shall cause the proceeds

 of DIP Collateral to be deposited into a segregated, non-commingled account which is required to

 be subject to the control of the DIP Lender and the Debtors’ use of such proceeds shall be subject

 to, and distributed in accordance with, the DIP Loan Documents and the Budget.

                9.      Security for DIP Loan. As security for the DIP Indebtedness, the DIP

 Lender is granted a valid, perfected, first priority priming lien (the “DIP Lien”) against the DIP

 Collateral, as that term is defined in the DIP Loan Documents; provided, however, that the DIP

 Lien shall be junior only to the pre-existing liens on and security interests in such DIP Collateral

 granted in favor of third parties (other than any Prepetition ABL Secured Party or any Prepetition

 Term Loan Secured Party (each as defined in the Interim CC Order)) that, as of the Petition Date,

 (a) were senior in priority under applicable law to the DIP Lien, (b) were not subordinated by

 agreement or applicable law, and (c) were in existence, valid, enforceable, properly perfected and

 non-avoidable as of the Petition Date, including any such liens and security interests that were

 perfected after the Petition Date but relate back to the Petition Date pursuant to section 546(b) of

 the Bankruptcy Code. Solely with respect to the DIP Collateral, the DIP Lender is granted an

 administrative expense in the amount of the Interim DIP Loan with the highest priority under

 §364(c) of the Bankruptcy Code, and shall have priority over all other costs and expenses of

 administration of any kind, including those specified in, or ordered pursuant to, §§ 105, 326, 330,

 331, 503(b), 507(a), 507(b) or 726 or any other provision of the Bankruptcy Code or otherwise

 (whether incurred in this Case or any successor case), and shall at all times be senior to the rights

 of the DIP Borrower, any successor trustee or estate representative in the Case or any successor

 case.




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                 10.     Perfection of DIP Lien and Limited Stay Relief. The DIP Lien shall be,

 and is hereby deemed duly perfected and recorded under all applicable federal or state or other

 laws as of the date hereof, and no notice, filing, mortgage recordation, possession, further order,

 landlord or warehousemen lien waivers or other third party consents or other act, shall be required

 to effect such perfection; provided, however, that notwithstanding the provisions of Section 362

 of the Bankruptcy Code which stay is lifted for the limited purpose of allowing perfection, the (i)

 DIP Lender may, at its sole option, file or record or cause the DIP Borrower to obtain any such

 landlord or warehousemen lien waivers or other third party consents or execute, file or record, at

 the DIP Borrower’s expense, any such UCC financing statements, notices of liens and security

 interests, mortgages and other similar documents as DIP Lender may require, and (ii) DIP Lender

 may require the DIP Borrower to deliver to DIP Lender any chattel paper, instruments or securities

 evidencing or constituting any DIP Collateral, and the DIP Borrower is directed to cooperate and

 comply therewith. If DIP Lender, in its sole discretion, shall elect for any reason to cause to be

 obtained any landlord or warehouse lien waivers or other third party consents or cause to be filed

 or recorded any such notices, financing statements, mortgages or other documents with respect to

 such security interests and liens, or if DIP Lender, in accordance with the DIP Loan Documents

 or this Interim Order, elects to take possession of any DIP Collateral, all such landlord or

 warehouse lien waivers or other third party consents, financing statements or similar documents

 or taking possession shall be deemed to have been filed or recorded or taken in this Case as of the

 commencement of this Case but with the priorities as set forth herein. The DIP Lender may (in its

 sole discretion), but shall not be required to, file a certified copy of this Interim Order in any filing

 or recording office in any county or other jurisdiction in which the DIP Borrower has property.




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                11.    Books and Records. The DIP Borrower shall permit DIP Lender and any

 authorized representatives designated by DIP Lender (including, without limitation, its auditors,

 appraisers and financial advisors) to visit and inspect any of the properties of the DIP Borrower,

 including the DIP Borrower’s financial and accounting records, and to make copies and take

 extracts therefrom, and to discuss any DIP Borrower’s affairs, finances and business with such

 DIP Borrower’s officers and independent public accountants, at such reasonable times during

 normal business hours and as often as may be reasonably requested. Without limiting the generality

 of the foregoing, the DIP Borrower shall promptly provide to DIP Lender any information or data

 reasonably requested to monitor the Debtor’s compliance with the covenants and the provisions of

 the DIP Loan Documents and this Order.

                12.    Effect of Dismissal, Conversion or Substantive Consolidation. If the DIP

 Borrower’s Case is dismissed, converted, otherwise superseded or substantively consolidated, DIP

 Lender’s rights and remedies under this Interim Order and the DIP Loan Documents shall be and

 remain in full force and effect as if the DIP Borrower’s Case had not been dismissed, converted,

 superseded or substantively consolidated. Furthermore, notwithstanding any such dismissal,

 conversion, or substantive consolidation, all of the terms and conditions of this Interim Order,

 including, without limitation, the liens and the priorities granted hereunder, shall remain in full

 force and effect.

                13.    Order Binding on Successors. The provisions of this Interim Order shall

 be binding upon and inure to the benefit of DIP Lender and the DIP Borrower and their respective

 successors and assigns (including any subsequently appointed trustee, examiner or other estate

 representative appointed as a representative of the DIP Borrower’s estate or of any estate in any




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 successor cases). No third parties are intended to be or shall be deemed to be third party

 beneficiaries of this Interim Order or the DIP Loan Documents.

                14.     RESERVED

                15.     Order Binding Upon Parties in Interest. To the fullest extent that relief

 is available at a hearing held pending a final hearing as contemplated by Bankruptcy Rule 4001(2),

 all of the provisions of this Interim Order shall be final and binding on the DIP Borrower

 (including, without limitation, its successors and assigns), the DIP Borrower’s equity holders, and

 all creditors and other parties in interest, including any Chapter 11 or Chapter 7 trustee hereinafter

 appointed.

                16.     Effect of Modification of Interim Order. The DIP Borrower shall not,

 without DIP Lender’s prior written consent (which shall be given or refused in its sole discretion),

 seek to modify, vacate or amend this Interim Order or any DIP Loan Documents. If any of the

 provisions of this Interim Order are hereafter modified, vacated or stayed by subsequent order of

 this or any other Court without DIP Lender’s prior written consent, such stay, modification or

 vacatur shall not affect the validity of any obligation outstanding immediately prior to the effective

 time of such stay, modification or vacation, or the validity and enforceability of any lien, priority,

 right, privilege or benefit authorized hereby with respect to any such obligations. Notwithstanding

 any such stay, modification or vacatur, any obligation outstanding immediately prior to the

 effective time of such modification, stay or vacatur shall be governed in all respects by the original

 provisions of this Interim Order, and DIP Lender shall be entitled to all the rights, privileges and

 benefits, including, without limitation, the security interests and priorities granted herein, with

 respect to all such obligations.




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                17.    Safe Harbor. The Court has considered and determined the matters

 addressed herein pursuant to its powers under the Bankruptcy Code, including the power to

 authorize the DIP Borrower to obtain credit on the terms and conditions upon which the DIP

 Borrower and Lender have agreed. Thus, each of such terms and conditions constitutes a part of

 the authorization under Section 364 of the Bankruptcy Code, and is, therefore, subject to the

 protections contained in Section 364(e) of the Bankruptcy Code.

                18.    Insurance Proceeds and Policies. Upon entry of this Interim Order and to

 the fullest extent provided by applicable law, the DIP Lender, shall be, and shall be deemed to be,

 without any further action or notice, named as additional insured and loss payee on each insurance

 policy maintained by the DIP Borrower that in any way relates to the DIP Collateral.

                19.    Relationship to Contemplated Sale Transaction. As contemplated by the

 Levin-Wolf LOI (attached as Exhibit B to the First Day Declaration), the Sale Agreement (as

 defined in the DIP Credit Agreement) shall provide for the DIP Lender and Levin Trucking, LLC,

 the purchasers thereunder, to assume, pay or otherwise satisfy all allowed section 503(b)(9) claims

 against the DIP Borrower, effective upon and subject to the occurrence of the closing under such

 Sale Agreement.

                20.    Notice of Interim Order. The DIP Borrower shall promptly serve a copy

 of this Order, by regular mail upon the creditors holding the 30 largest unsecured claims of each

 of the Debtor, or the Committee, if appointed, and any other party which theretofore has filed in

 the Cases a request for special notice with this Court and served such request upon DIP Borrower’s

 counsel.

                21.    Objections Overruled or Withdrawn. All objections to the entry of this

 Interim Order have been withdrawn or are hereby overruled.




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                22.     Controlling Effect of Order. To the extent any provisions in this Interim

 Order conflict with any provisions of the Motion, or any DIP Loan Document, the provisions of

 this Interim Order shall control.

                23.     Final Hearing. The Final Hearing to consider entry of the Final Order is

 scheduled for April 6, 2020 at 1:00 p.m. (Prevailing Delaware Time) before the Honorable

 Christopher S. Sontchi, Chief United States Bankruptcy Judge at the United States Bankruptcy

 Court for the District of Delaware. On or before March 13, 2020, the Debtors shall serve, by

 United States mail, first-class postage prepaid, notice of the entry of this Interim Order and of the

 Final Hearing (the “Final Hearing Notice”), together with copies of this Interim Order and the

 Motion, on: (a) the parties having been given notice of the Interim Hearing; (b) any party which

 has filed prior to such date a request for notices with this Court; (c) counsel for a Committee (if

 appointed); (d) the Securities and Exchange Commission; and (e) the Internal Revenue Service.

 The Final Hearing Notice shall state that any party in interest objecting to the entry of the proposed

 Final Order shall file written objections with the Clerk of the Court no later than March 30, 2020,

 which objections shall be served so as to be received on or before such date by: (i) counsel to the

 Debtors, Benesch, Friedlander, Coplan & Aronoff LLP, 222 Delaware Avenue, Suite 201,

 Wilmington, Delaware 19801-1611, Attn: Michael J. Barrie and Gregory W. Werkheiser;

 (ii) counsel to the DIP Lender, Clark Hill PLC, (a) 301 Grant Street, 14th Floor, Pittsburgh,

 Pennsylvania 15219, Attn: William C. Price and Jarrod Duffy, and (b) 824 N. Market Street, Suite

 710, Wilmington, Delaware 19801, Attn: Karen Grivner; (iii) the Office of The United States

 Trustee, 844 King Street, Suite 2207, Lockbox 35, Wilmington, Delaware 19801, Attn: Linda

 Richenderfer; (iv) lead counsel to the Prepetition ABL Agent, Morgan Lewis & Bockius LLP, (a)

 101 Park Avenue, New York, New York 10178-0060, Attn: Jennifer Feldsher, and (b) One Federal




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 Street, Boston, Massachusetts 02110, Attn: Marjorie Crider and Christopher L. Carter; (v)

 Delaware counsel to the Prepetition ABL Agent, Burr & Forman LLP, 1201 N. Market Street,

 Suite 1407, Wilmington, Delaware 19801, Attn: J. Cory Falgowski; (vi) counsel to the Prepetition

 Term Loan Agent, Greenberg Traurig, LLP, One International Place, Suite 2000, Boston, MA

 02110, Attn: Jeffrey M. Wolf; and (vii) counsel to the Committee (if appointed)

                24.     Nunc Pro Tunc Effect of this Interim Order. This Interim Order shall

 constitute findings of fact and conclusions of law pursuant to Bankruptcy Rule 7052 and shall take

 effect and be enforceable nunc pro tunc to the Petition Date immediately upon execution thereof.

                25.     Retention of Jurisdiction. The Court has and will retain jurisdiction to

 enforce the terms of, any and all matters arising from or related to this Interim Order.




         Dated: March 16th, 2020                      CHRISTOPHER S. SONTCHI
         Wilmington, Delaware                         UNITED STATES BANKRUPTCY JUDGE




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                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE

                                                                      )
     In re:                                                           ) Chapter 11
                                                                      )
     ART VAN FURNITURE, LLC, et al., 1                                ) Case No. 20-10553 (CSS)
                                                                      )
                                         Debtors.                     ) (Jointly Administered)
                                                                      )
                                                                      ) Objection Deadline: At the Hearing
                                                                      ) Hearing Date: April 6, 2020 at 1:00 p.m. (ET)
                                                                      )

             DEBTORS’ CORRECTED MOTION FOR ENTRY OF AN ORDER
            (I) CONVERTING THEIR CHAPTER 11 CASES TO CASES UNDER
           CHAPTER 7, (II) ESTABLISHING A DEADLINE FOR FILING FINAL
         CHAPTER 11 FEE APPLICATIONS AND SETTING A HEARING THEREON,
                      AND (III) GRANTING RELATED RELIEF

              The above-captioned debtors and debtors in possession (collectively, the “Debtors”)

 hereby submit this motion (this “Motion”), pursuant to section 1112(a) of title 11 of the United

 States Code (the “Bankruptcy Code”), Rule 1017(f) of the Federal Rules of Bankruptcy Procedure

 (the “Bankruptcy Rules”), and Rule 2002-1 of the Local Rules of Bankruptcy Practice and

 Procedure of the United States Bankruptcy Court for the District of Delaware (the “Local Rules”),

 for the entry of an order, substantially in the form attached hereto as Exhibit A (the “Proposed

 Order”), (i) converting each of the Debtors’ chapter 11 cases to cases under chapter 7 of the

 Bankruptcy Code, effective as of 12:00 a.m. (prevailing Delaware time on April 7, 2020 (the

 “Conversion Date”), (ii) establishing a deadline for filing final chapter 11 fee applications and



 1
              The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
              identification number, include: Art Van Furniture, LLC (9205); AVF Holding Company, Inc. (0291);
              AVCE, LLC (2509); AVF Holdings I, LLC (2537); AVF Holdings II, LLC (7472); AVF Parent, LLC (3451);
              Levin Parent, LLC (8052); Art Van Furniture of Canada, LLC (9491); AV Pure Sleep Franchising, LLC
              (8968); AVF Franchising, LLC (6325); LF Trucking, Inc. (1484); Sam Levin, Inc. (5198); and Comfort
              Mattress LLC (4463). The location of the Debtors’ service address in these chapter 11 cases is: 6500 East
              14 Mile Road, Warren Michigan 48092.




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 setting a hearing thereon, and (iii) granting related relief. In support of this Motion, the Debtors

 respectfully state as follows:

                                  PRELIMINARY STATEMENT 2

        1.      These Chapter 11 Cases were pending for just three days when on March 11, 2020,

 the World Health Organization declared the novel coronavirus disease (COVID-19) outbreak to

 be a pandemic. 3 These Chapter 11 Cases were pending for just five days when on March 13, 2020,

 the Trump administration declared a national emergency in response to the COVID-19 outbreak. 4

 These Chapter 11 Cases were pending for just six days when on March 14, 2020, government

 regulators in Pennsylvania, one of four states in which the Debtors’ core retail operations are

 concentrated, issued guidance urging all non-essential retail businesses to close, with other states

 and localities soon to follow. 5 And, these Chapter 11 Cases were pending for just eleven to

 fourteen days when the four states in which the Debtors’ principal operations are located —

 Michigan, Pennsylvania, Ohio and Illinois — issued “stay at home” or “shelter in place” orders

 requiring, among other things, all non-essential businesses (including the Debtors’ retail stores) to

 shut their doors and mandating that individuals not leave their homes except in limited

 circumstances. 6


 2
        Capitalized terms used but not defined in this Preliminary Statement have the meanings ascribed to such
        terms elsewhere in this Motion.
 3
        World Health Organization, WHO Director-General’s opening remarks at the media briefing on COVID-19,
        March 11, 2020 (https://www.who.int/dg/speeches/detail/who-director-general-s-opening-remarks-at-the-
        media-briefing-on-covid-19---11-march-2020).
 4
        Pres. Donald J. Trump, Proclamation on Declaring a National Emergency Concerning the Novel Coronavirus
        Disease (COVID-19) Outbreak, dated March 13, 2020 (https://www.whitehouse.gov/presidential-
        actions/proclamation-declaring-national-emergency-concerning-novel-coronavirus-disease-covid-19-
        outbreak/).
 5
        Wolf Administration Issues Guidance to Non-essential Businesses as Part of COVID-19 Mitigation Efforts,
        March 14, 2020 (https://dced.pa.gov/newsroom/wolf-administration-issues-guidance-to-non-essential-
        businesses-as-part-of-covid-19-mitigation-efforts/).
 6
        Michigan: Gov. Gretchen Whitmer, Executive Order 2020-21 (COVID-19), dated March 23, 2020
        (https://www.michigan.gov/whitmer/0,9309,7-387-90499_90705-522626--,00.html); Pennsylvania: Gov.




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        2.      Even before government action in response to the COVID-19 pandemic made it

 impossible for the Debtors’ retail operations to continue, the consumer public’s understandable

 fear of the spread of the COVID-19 disease already had a devastating impact on the Debtors’

 ability to implement their original restructuring plan. These key components included (a) the

 continuation of Store Closing Sales at substantially all of the Debtors’ 125 Art Van Furniture, Art

 Van Pure Sleep and Scott Shuptrine Interiors branded locations and eight of the Debtors’ Wolf

 Furniture branded locations, and (b) the operation of 44 Levin Furniture, Levin Mattress and Wolf

 Furniture locations pending consummation of a going concern sale of those business lines and

 related assets that was contemplated at the outset of these proceedings. Unfortunately, by the

 conclusion of the week ending March 14, 2020, customer traffic in the Debtors’ stores — both

 those participating in the Store Closing Sales program and the Levin and Wolf going concern

 locations — precipitously dropped below what any of the Debtors’ pre-bankruptcy and pre-

 COVID-19 pandemic financial could have predicted. As a consequence, it was quickly evident

 that continued retail operations of any sort would cause the Debtors to incur expenses for the

 foreseeable future that far outstripped the revenues generated.           Ultimately, of course, the

 aforementioned restrictions on economic and other activity that various state and local

 governments determined to be necessary to slow the spread of the COVID-19 disease effectively

 removed any choice the Debtors had in the matter by mandating that the Debtors discontinue all

 retail operations and other non-essential business operations.




        Tom Wolf, Executive Order, dated March 19, 2020 (https://www.governor.pa.gov/wp-
        content/uploads/2020/03/20200319-TWW-COVID-19-business-closure-order.pdf); Ohio: Dir. Of Public
        Health,      Amy       Acton,     Stay    at    Home      Order,     dated     March    22,   2020
        (https://content.govdelivery.com/attachments/OHOOD/2020/03/22/file_attachments/1407840/Stay%20Ho
        me%20Order.pdf); and Illinois: Gov. JB Pritzker, Executive Order in Response to COVID-19 (COVID-19
        Executive Order No. 8), dated March 20, 2020 (https://www2.illinois.gov/IISNews/21288-
        Gov._Pritzker_Stay_at_Home_Order.pdf).




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         3.      By late March, the exponential spread of the COVID-19 disease throughout the

 United States, along with the resulting state and locally imposed limitations and prohibitions on

 non-essential retail operations, had left the Debtors with few potentially viable options. Further,

 these extraordinary and unprecedented events have made it extremely difficult for the Debtors and

 their advisors to predict with any reasonable certainty the best path forward in these proceedings

 for the Debtors and their estates. At present, no one can predict with any reliability how long the

 shelter-in-place orders issued in many states where the Debtors operate will remain in effect. In

 fact, the Trump administration just recently extended social distancing guidelines from April 15,

 2020 through April 30, 2020. 7          And, even assuming regulatory barriers to resuming retail

 operations are lifted in the near future, no one can predict with any reliability what consumer

 appetite will exist for furniture, given the economic and other trauma that the nation is undergoing

 presently. 8

         4.      In order to preserve to the greatest extent possible the value of the Debtors’ assets

 and maximize the proceeds thereof that may eventually be distributable to their creditors, the

 Debtors had initially hoped — consistent with what has been recently approved in certain other

 retail chapter 11 bankruptcy proceedings 9 — to pursue relief from this Court authorizing the

 Debtors to “mothball” their remaining assets and operations and to suspend substantially all

 activity in these chapter 11 cases until such time as the broader economic and public safety


 7
         See, e.g., Michael D. Shear, “Trump Extends Social Distancing Guidelilnes Through End of April,” The New
         York        Times      (Pub.      March       29,       2020,     updated       April     1,       2020)
         (https://www.nytimes.com/2020/03/29/us/politics/trump-coronavirus-guidelines.html).
 8
         See, e.g., Ed Yong, “How the Pandemic Will End,” The Atlantic (March 25, 2020) (exploring different
         plausible scenarios for resolution of the COVID-19 epidemic with some taking 12-18 months for society to
         return to a level of normalcy).
 9
         See Order Establishing Temporary Procedures and Granting Related Relief, entered March 30, 2020 [D.I.
         217], In re CraftWorks Parent, LLC, et al., Case No. 20-10475 (BLS) (Bankr. D. Del.); Order Temporarily
         Suspending the Debtors’ Chapter 11 Case Pursuant to 11 U.S.C. §§ 105 and 305, entered March 27, 2020
         [D.I. 166], In re Modell’s Sporting Goods, Inc., et al., Case No. 20-14179 (VFP) (Bankr. D.N.J.).




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 situations stabilized and hopefully improved sufficiently to allow the Debtors to resume value-

 maximizing actions for the benefit of their creditors and other stakeholders. After consultation with

 advisors for the Prepetition ABL Agent and the Committee, as of last Thursday, March 26, 2020,

 the Debtors believed that they had at least conceptual support for pursuing this path, as the Debtors

 reported to this Court and parties in interest at the status conference held that day.

        5.      Unfortunately, despite the Debtors and their advisors working around the clock for

 days, in consultation with the Prepetition ABL Agent, the Committee and others, no viable path

 forward in chapter 11 emerged that would garner the support of the Debtors’ senior secured lenders

 and certain other stakeholders. With the COVID-19 pandemic still raging and by all reputable

 accounts likely to get worse in the next several weeks before it improves, the execution risk

 associated with any of these strategies appears to be unacceptably high for the Debtors to garner

 the support their senior secured lenders and other stakeholders necessary for the Debtors to be able

 to move forward. The Debtors’ ability to implement any of these strategies is further confounded

 by the reality that what remains of the Debtors’ cash on hand is likely inadequate to implement

 certain of these restructuring alternatives, such as the resumption of GOB Sales. Even in the best

 case forecasts available to the Debtors, virtually all of their remaining cash on hand would be

 consummated by the time the Debtors and their senior secured lenders conceivably might have

 some visibility into if or when any of these restructuring alternatives could be successfully

 implemented.

        6.      Furthermore, the Debtors have no ability, without the consent of the Prepetition

 ABL Agent, to implement any case suspension-based restructuring strategy. Of necessity, on or

 about March 19, 2020, after communicating with representatives of the Prepetition ABL Agent on

 several occasions about the Debtors’ increasing operating losses and need to take appropriate




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 action to prevent further dissipation of the Debtors’ assets, the Debtors ceased operating their retail

 stores as going concerns and thereafter dismissed the vast majority of their employees. As a result,

 the Debtors have no top line revenue, such that each dollar expended by the Debtors at this point

 is not being replaced. For this and other reasons, the Debtors have no ability to demonstrate that

 their secured lenders are adequately protected to the degree required for the Debtors continue using

 cash collateral and other collateral without their consent. And, under the terms of the Interim CC

 Order, absent extraordinary relief from the Court, the consent of the Senior Secured Parties to use

 cash collateral and other collateral will expire no later than the end of the day Monday, April 6,

 2020.

         7.     The Debtors, thus, find themselves with no choice other than to move for the

 prompt conversion of these Chapter 11 Cases to cases under chapter 7 of the Bankruptcy Code.

 Though this path is a difficult one that the Debtors are following only after exhausting all other

 alternatives, under these dire circumstances, the Debtors believe that converting these cases is in

 the best interests of the Debtors’ estates. The Debtors understand that the conversion of Chapter

 11 Cases is supported by the Debtors’ senior lenders and not opposed by the Committee.

                                  JURISDICTION AND VENUE

         9.     The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

 1334(b), and the Amended Standing Order of Reference from the United States District Court for

 the District of Delaware dated as of February 29, 2012. This is a core proceeding pursuant to 28

 U.S.C. § 157(b) and, pursuant to Rule 9013-1(f) of the Local Rules, the Debtors consent to the

 entry of a final order by the Court in connection with this Motion to the extent that it is later

 determined that the Court, absent consent of the parties, cannot enter final orders or judgments in

 connection herewith consistent with Article III of the United States Constitution.




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        10.      Venue is proper before the Court pursuant to 28 U.S.C. §§ 1408 and 1409.

        11.      The statutory bases for the relief requested herein are section 1112(a) of the

 Bankruptcy Code, Bankruptcy Rule 1017(f), and Local Rule 2002-1.

                                               BACKGROUND

                 A. General Background.

        12.      On March 8, 2020 (the “Petition Date”), each of the Debtors commenced with this

 Court voluntary cases (the “Chapter 11 Cases”) under chapter 11 of the Bankruptcy Code. The

 Debtors continue to operate their businesses and manage their properties as debtors in possession

 pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

        13.      The Debtors’ cases are being jointly administered under lead Case No. 20-10553

 (CSS) pursuant to Bankruptcy Rule 1015.

        14.      Information regarding the Debtors’ business, capital structure, and the

 circumstances leading to the commencement of these chapter 11 cases is set forth in the

 Declaration of David Ladd, Executive Vice President and Chief Financial Offer of Art Van

 Furniture, LLC, in Support of Chapter 11 Petitions and First Day Motions (the “First Day

 Declaration”) [D.I. 12], incorporated by reference herein.

        15.      At the commencement of these cases, the Debtors operated 169 stores in eight

 states, specifically Michigan, Indiana, Ohio, Illinois, Pennsylvania, Maryland, Missouri, West

 Virginia, and Virginia. 10 The Debtors also have four regional distribution centers, three of which

 are leased and one of which is owned. The Debtors are headquartered in Warren, Michigan and

 had approximately 4,500 employees as of the Petition Date.



 10
        The vast majority of the Debtors’ stores were located in four states: Michigan; Ohio; Pennsylvania; and
        Illinois. The remaining five states listed above accounted for only 16 of the Debtors’ 169 retail locations as
        of the Petition Date.




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        16.      As set forth in the First Day Declaration, the Debtors filed these chapter 11 cases

 with the intention of liquidating their inventory through store closing sales (the “Store Closing

 Sales”) conducted with the assistance of the Consultant and other proposed professionals, paying

 down their secured debt, and using any remaining proceeds of their Store Closing Sales to windup

 their operations. Also as set forth in the First Day Declaration and Exhibit B thereto, as of the

 Petition Date, the Debtors were party to a binding letter of intent for a going concern sale of 44

 Levin and Wolf stores and related assets and operations (the “Levin-Wolf Sale”). The Debtors

 intended to effectuate this restructuring through the consensual use of cash collateral.

        17.      In furtherance thereof, on or around the Petition Date, the Debtors filed, among

 other things:

              a. Debtors' Application for Entry of Order Appointing Kurtzman Carson Consultants
                 LLC as Claims and Noticing Agent Nunc Pro Tunc to the Petition Date [D.I. 3];

              b. Debtors’ Motion Seeking Entry of Interim and Final Orders (I) Authorizing Use of
                 Cash Collateral and Affording Adequate Protection; (II) Modifying the Automatic
                 Stay; (III) Scheduling a Final Hearing; and (IV) Granting Related Relief [D.I. 5];
                 and

              c. Debtors’ Emergency Motion for Entry of Interim and Final Orders (I) Approving
                 Procedures for Store Closing Sales, (II) Authorizing Customary Bonuses to
                 Employees of Closing Stores, (III) Authorizing Assumption of the Consulting
                 Agreement Under §§ 363 and 365 of the Bankruptcy Code, (IV) Authorizing the
                 Debtors to Retain Certain Consultant Entities as Special Asset Disposition
                 Advisors to the Debtors Pursuant to § 327(a) of the Bankruptcy Code and (V)
                 Granting Related Relief [D.I. 52] (the “Store Closing Motion”).

        18.      On March 10, 2020 (as continued, in part, to March 12, 2020), the Court held a

 hearing (the “First Day Hearing”) following which it entered certain orders, including: (a) an order

 [D.I. 77], pursuant to 28 U.S.C. § 156(c), appointing Kurtzman Carson Consultants LLC (“KCC”)

 as the Claims and Noticing Agent for these Chapter 11 Cases (the “Claims Agent”); (b) the Interim

 Order (I) Authorizing the Debtors to Use Cash Collateral, (II) Granting Adequate Protection to the

 Prepetition Secured Parties, (III) Modifying the Automatic Stay, (IV) Scheduling a Final Hearing,



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 and (V) Granting Related Relief [D.I. 93] (the “Interim CC Order”); and (c) an order [D.I. 143]

 granting limited relief in connection with the Store Closing Motion on an interim basis.

        19.     Shortly after the Petition Date, the Debtors filed applications to employ and retain:

 (a) Benesch, Friedlander, Coplan & Aronoff, LLP (“Benesch”), as their proposed general

 bankruptcy counsel [D.I. 142]; (b) Montgomery McCracken Walker & Rhoads (“MMWR”), as

 their proposed special counsel [D.I. 193]; (c) Alvarez & Marsal North America LLC (“A&M”), as

 their proposed financial advisors [D.I. 145]; and (d) Jones Lang Lasalle Americas, Inc. (“JLL,”

 and together with Benesch, MMWR and A&M, the “Debtors’ Professionals”), as their proposed

 real estate consultants and advisors [D.I. 141]. The applications to employ and retain Benesch,

 A&M and JLL, each are scheduled to be heard on April 6, 2020, at 1:00 p.m. (ET). The application

 to employ and retain MMWR is scheduled to be heard on April 27, 2020, at 2:00 p.m. (ET).

        20.     On March 18, 2020, the Office of the United States Trustee for the District of

 Delaware (the “U.S. Trustee”) appointed a seven member Official Committee of Unsecured

 Creditors in these Chapter 11 Cases (as reconstituted from time to time, the “Committee”). The

 Committee has engaged and filed applications to employ and retain Pachulski Stang Ziehl & Jones

 LLP (“Pachulski Stang”) as its proposed counsel [D.I. 244] and Alix Partners (“Alix Partners,”

 and together with Pachulski Stang, the “Committee’s Professionals”), as its proposed financial

 advisor [D.I. 241].

                B. Events in the Chapter 11 Cases.

        21.     Since the First Day Hearing, the exponential spread of COVID-19 has wrought

 economic and social havoc across the country and the globe. As discussed in the Preliminary

 Statement, on the afternoon of March 13, 2020, President Trump declared COVID-19 a national




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 emergency and most of the states in which the Debtors operate have also declared states of

 emergency and issued “stay at home” or “shelter-in-place” type orders.

        22.     Notwithstanding the careful planning and modeling of the Debtors and their

 advisors, since shortly after the Petition Date, the Debtors’ situation has changed drastically as a

 result of COVID-19. Customer traffic in the Debtors’ stores, which had been robust just days

 earlier, dissipated to almost nothing within the first week after the Petition Date. Specifically,

 during the initial days of the Store Closing Sales from March 5-8, 2020, deposits from inventory

 sales were in excess of $23.0 million; 11 however, for the full week ending March 15th, deposits

 from sales were just $8.0 million. It quickly became apparent to the Debtors’ management and

 advisory teams that continued retail operations of any sort were causing the Debtors to incur

 expenses (and would do so for the foreseeable future) that far outstripped any revenues being

 generated through the Debtors’ continued retail operations.

        23.     By March 14, 2020, Governor Tom Wolf of Pennsylvania, where 25 of the Debtors’

 stores and two of their distribution centers are located, had issued guidance urging all non-essential

 businesses to close. 12 Two days later, Governor Wolf repeated and amplified that guidance,

 declaring: “The Wolf Administration is relying on businesses to act now before the governor or

 the Secretary of Health finds it necessary to compel closures under the law for the interest of public

 health ….” 13 Similarly, on March 16, 2020, Governor Gretchen Whitmer of Michigan — where


 11
        The Debtors, however, did not realize the cash proceeds from most of these sales because just prior to the
        Petition Date and immediately thereafter, certain of the Debtors’ credit card processor banks purported to
        exercise rights to intercept the proceeds from such transactions and redirect them into chargeback reserve
        accounts.
 12
        Wolf Administration Issues Guidance to Non-essential Businesses as Part of COVID-19 Mitigation Efforts,
        March 14, 2020 (https://dced.pa.gov/newsroom/wolf-administration-issues-guidance-to-non-essential-
        businesses-as-part-of-covid-19-mitigation-efforts/)
 13
        Wolf Administration Updates Businesses on Guidance for COVID-19 Mitigation Efforts, March 16, 2020
        (https://www.governor.pa.gov/newsroom/wolf-administration-updates-businesses-on-guidance-for-covid-
        19-mitigation-efforts/).




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 the Debtors’ headquarters, a distribution center and 82 of their stores are located — entered an

 executive order that closed Michigan’s bars, theaters, casinos and other public spaces. 14 While

 Michigan’s initial order did not explicitly mandate closing of all non-essential retail

 establishments, it was accompanied by appropriately alarming statement from Governor Whitmer

 urging Michigan residents to “mak[e] smart choices” by “not putting [themselves] or others at risk

 by going out in public unless it is absolutely necessary.” 15 Government authorities in Ohio and

 Illinois also issued similar guidance and direction.

        24.     As detailed in the Preliminary Statement, on March 19, 2020, Pennsylvania became

 the first of the four states in which the Debtors’ major retail and fulfillment operations are located

 to issue a “stay at home” or “shelter in place” type order. Similar orders soon followed in

 Michigan, Ohio and Illinois, all of which also were in lock-down by March 23, 2020.

        25.     Although the situation was evolving rapidly, the Debtors’ board, management team

 and advisors were paying close attention to the threat COVID-19 posed to the health and welfare

 of the Debtors’ employees and customers and to the financial impact on the Debtors’ businesses.

 The Debtors’ board, management team and advisors were in near constant communication about

 these events as they unfolded in mid-March. Moreover, the Debtors and their advisors worked to

 the best of their ability under these circumstances to keep their secured lenders and other

 stakeholders informed about these challenges and exhausted all efforts to work with them to

 develop viable responses to the rapidly deteriorating situation. When no other viable alternative

 emerged, on March 19, 2020, the Debtors made the painful decision to suspend all retail operations




 14
        Governor Whitmer Signs Executive Order Temporarily Closing Bars, Theaters, Casinos, and Other Public
        Spaces; Limiting Restaurants to Delivery and Carry-Out Orders, March 16, 2020
        (https://www.michigan.gov/coronavirus/0,9753,7-406-98158-521763--,00.html).
 15
        Id.




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 and terminate the majority of their employees — moves the Debtors hoped at the time would be

 only temporary measures.

        26.     Further compounding the Debtors’ problems, on March 19, 2020 the proposed

 purchaser for the Levin-Wolf Sale notified the Debtors that they would not proceed with the

 transaction at that time, effectively ending any hope the Debtors had to consummate a going

 concern transaction for the Levin and Wolf furniture operations and dashing hopes to save upwards

 of a 1,000 jobs.

        27.     Late in the day on March 19, 2020, however, the Prepetition ABL Agent issued a

 purported Termination Declaration under the Interim CC Order. Pursuant to Paragraph 21 of the

 Interim CC Order, a valid Termination Declaration issued on March 19th would have triggered a

 Remedies Notice Period five business days’ in length. Thereafter, the Prepetition ABL Agent

 agreed to extend any Remedies Notice Period relating to the alleged Termination Declaration

 through the end of the day on Tuesday, March 31, 2020, and then again through and including the

 end of the day on Monday, April 6, 2020.

        28.     Following these events, the Debtors and their advisors continued to work with the

 Prepetition ABL Agent, the Committee, and their respective advisors to identify solutions for the

 Debtors’ deteriorating situation that would allow them to preserve to the greatest extent possible

 the value of the Debtors’ assets and maximize the proceeds thereof that might eventually be

 distributable to their creditors. The Debtors had hoped — consistent with what has been recently

 approved this Court in the CraftWorks chapter 11 cases and by the District of New Jersey

 bankruptcy court in the Modell’s chapter 11 cases — to pursue relief from this Court authorizing

 the Debtors to “mothball” their remaining assets and operations and to suspend substantially all

 activity in these Chapter 11 Cases until such time as the broader economic and public safety




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 situations stabilized and hopefully improved sufficiently to allow the Debtors to resume value-

 maximizing actions for the benefit of their creditors and other stakeholders. After consultation with

 advisors for the Prepetition ABL Agent and the Committee, as of last Thursday, March 26, 2020,

 the Debtors believed that they had at least conceptual support for pursuing this path, as the Debtors

 reported to the Court that day.

        29.     Both before and after the March 26th status conference, the Debtors, with the

 assistance of their advisors and in consultation with the Prepetition ABL Agent, the Committee

 and their respective advisors, were working to develop and evaluate several potentially value

 maximizing alternatives for the Debtors to pursue after the contemplated suspension of operations

 and downscaling of activities in these Chapter 11 Cases came to an end. One such path was to

 resume Store Closing Sales at all of the Debtors’ locations where it would be financially and

 operationally viable to do so. A second path considered was to focus on one or more bulk sales

 most or all of the Debtors’ inventory, equipment, and other readily monetizable assets.

 Additionally, the Debtors and their advisors examined several “middle” paths for the Debtors and

 their estates, which would involve various combinations of resuming Store Closing Sales at certain

 locations and bulk-selling inventory, equipment, and certain other assets associated with other

 locations.

        30.     To be clear, each of the post-suspension restructuring alternatives explored by the

 Debtors had the prospect of producing some return to the Debtors’ senior secured lenders and

 potentially to other stakeholders. But none of the potential scenarios showed a reasonable chance

 of generating a recovery for the Debtors’ senior secured lenders coming anywhere near what the

 pre-COVID 19 pandemic modeling had suggested. Indeed, under most scenarios, the Prepetition

 ABL Secured Parties, which at the outset of these proceedings were projected to receive a full




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 recovery on their approximately $34 million of Prepetion ABL Obligations by the mid-point of

 the Store Closing Sales Process, would not get out whole before their ABL Priority Collateral was

 fully monetized.

        31.     Despite the Debtors working around the clock for days, in consultation with the

 Prepetition ABL Agent, the Committee and others, these concerted efforts were unable to produce

 a path forward in chapter 11 that would garner the support of their senior secured lenders and

 potentially other stakeholders. Unfortunately, with the COVID-19 pandemic still raging and by

 all reputable accounts likely to get worse before it improves, the perceived execution risk of any

 of these restructuring strategies has proven to be an insurmountable barrier to the Debtors ability

 to obtain the necessary support of their secured lenders and others. The Debtors’ ability to

 implement any of these strategies is further confounded by the reality that what remains of the

 Debtors’ cash on hand is inadequate to implement certain of these restructuring alternatives, such

 as the resumption of GOB Sales. Even in the reasonable best case forecasts available to the

 Debtors, virtually all of their remaining cash on hand would be consumed by operating expenses

 before the Debtors and their senior secured lenders would have meaningful visibility into whether

 these restructuring alternatives could be successfully implemented.

        32.     By Monday, March 30, 2020, the Debtors were effectively out of time, with their

 access to Cash Collateral under the Interim CC Order then due to terminate at the end of the

 following day. Although it was clear by this point in the proceedings that the Debtors would be

 unable to continue these Chapter 11 Cases without the support and consent of their senior secured

 lenders, unresolved issues existed as to what obligations would and would not be funded under the

 terms of the Interim CC Order prior to any conversion of the Chapter 11 Cases. Recognizing the

 contributions that their employees had made to the Debtors’ businesses postpetition and the




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 extreme hardship that many of the employees and their families were apt to experience as a result

 of losing their jobs in the midst of an ongoing pandemic and associated economic crisis, the

 Debtors attempted everything in their power to ensure that employee payroll and related employee

 obligations would be fully funded under the Interim CC Order.

        33.      These efforts were to a degree successful. At a hearing held on March 31, 2020,

 the Court confirmed that the Debtors would have access to Cash Collateral to fund and pay current

 payroll obligations, including wages, salaries and commissions. The cash available, however, was

 insufficient for it to be possible for the Debtors to provide at this time for payment in full of other

 employee related obligations, such as coverage obligations for employee healthcare expenses and

 certain other benefits plans that were, in whole or part, self-funded by the company. 16 Even though

 this situation is primarily the result of the COVID-19 pandemic and other circumstances entirely

 beyond the Debtors’ control, the Debtors deeply regret that they are not in a position to be able to

 do more for their employees, customers, vendors, landlords and other stakeholders.

        34.      Based upon the foregoing, the Debtors have considered the circumstances in which

 they find themselves, and have concluded that converting the Debtors’ Chapter 11 Cases to cases

 under chapter 7 of the Bankruptcy Code is in the best interests of the Debtors’ estates.




 16
        The Debtors estimate the total unfunded trailing liabilities under their partially self-funded employee health
        plan to be approximately $8.5 million. Under self-funded plans, like the ones the Debtors had established for
        their employees in the ordinary course of business prior to the Petition Date, when employees and their
        covered dependents receive covered services the resulting charges are remitted to the plan’s claims
        administrator for processing. Thereafter, the approved claims are batched and remitted to the Debtors for
        payment. The remittance of the batched claims to the Debtors for payment can trail the rendering of services
        to employees by up to several months. In general, the Debtors terminated health care covered for their
        employees effective as of the dates such employees separated from the company. Thus, the estimated $8.5
        million of trailing obligations is on account of covered healthcare services to covered persons provided prior
        to each such employee’s termination date. Although the Debtors’ original budget for these Chapter 11 Cases
        contemplated the funding of such trailing employee healthcare plan obligations, the COVID-19 pandemic’s
        disruption of the Debtors’ ability to operate postpetition combined with the issuance of a Termination
        Declaration under the Interim CC Order that followed, left the Debtors with inadequate cash on hand and
        inadequate access to additional cash with which to fund such obligations.




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                                        RELIEF REQUESTED

         35.      By this Motion, the Debtors request entry of the Proposed Order, pursuant to section

 1112(a) of the Bankruptcy Code and Bankruptcy Rule 1017(f), (i) converting the Debtors’ chapter

 11 cases to cases under chapter 7 of the Bankruptcy Code effective as of the Conversion Date, (ii)

 establishing a deadline for filing final chapter 11 professional fee applications and setting a date

 for a hearing thereon, and (iii) granting related relief.

         36.      The Debtors also request that the Court approve the following procedures in

 connection with the conversion of these Chapter 11 Cases to chapter 7 of the Bankruptcy Code

 (the “Conversion Procedures”):

               a. Professional Fees. To the extent professionals currently or hereafter retained in the
                  Chapter 11 case have not already submitted final fee applications to the Court (the
                  “Final Fee Applications”), all professionals shall submit Final Fee Applications in
                  accordance with the Bankruptcy Code, Bankruptcy Rules, Local Rules, and orders
                  of this Court by no later than thirty (30) days after the Conversion Date (the “Final
                  Fee Application Deadline”). Objections, if any, to the Final Fee Applications shall
                  be filed and served by no later than twenty-one (21) days after the Final Fee
                  Application Deadline. The Court will schedule a hearing, if necessary, at the
                  Court’s convenience and subject to the Court’s availability, on such Final Fee
                  Applications within fourteen (14) days thereafter or such later date as the Court
                  determines. To the extent no objections are filed to a given professional’s final fee
                  application, such professional may file a Certificate of No Objection, and the Court
                  may, in its sole discretion, enter an order approving such fees. To the extent the
                  Court approves a Final Fee Application after the Conversion Date, all approved
                  amounts owed for professional fees and expenses shall be paid (x) first, from each
                  professional’s retainer to the extent such retainers exist; (y) next, from the Carve
                  Out Reserves (as defined in the Interim CC Order) in accordance with its terms;
                  and (z) thereafter, from the Debtors’ chapter 7 estates in accordance with the
                  priorities set forth in the Bankruptcy Code.

               b. Books and Records. As soon as reasonably practicable, but in no event more than
                  fourteen (14) days after the appointment of the interim chapter 7 trustee, the
                  Debtors shall turn over or provide access to the chapter 7 trustee the books and
                  records of the Debtors in the Debtors’ possession and control, as required by
                  Bankruptcy Rule 1019(4). For purposes hereof, the Debtors may provide copies
                  (including electronic copies) of such books and records to the chapter 7 trustee, or
                  instructions for locating and accessing such books and records, and may retain




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                 copies of such books and records to the extent necessary to complete the reports
                 required herein.

              c. Schedules and SOFA. To the extent not already filed with the Court, the statements
                 and schedules required by Bankruptcy Rules 1019(1)(A) and 1007(b) shall be filed
                 within forty-two (42) days after the Conversion Date.

              d. Schedule of Unpaid Debts. Within fourteen (14) days of the Conversion Date, the
                 Debtors shall file a schedule of unpaid debts incurred after commencement of the
                 Debtors’ Chapter 11 Cases, including the name and address of each creditor, as
                 required by Bankruptcy Rule 1019(5).

              e. Final Report. Within thirty (30) days after the Conversion Date, the Debtors shall
                 file and transmit to the chapter 7 trustee a final report and account in accordance
                 with Bankruptcy Rule 1019(5)(A).

              f. Claims. Within fourteen (14) days of the Conversion Date, KCC shall (i) forward
                 to the Clerk of this Court an electronic version of all imaged claims; (ii) upload the
                 creditor mailing list into CM/ECF; (iii) docket a final claims register in the Debtors’
                 Chapter 11 Cases; and (iv) box and transport all original claims to the Philadelphia
                 Federal Records Center, 14470 Townsend Road, Philadelphia, PA 19154 and
                 docket a completed SF-135 Form indicating the accession and location numbers of
                 the archived claims.

                                         BASIS FOR RELIEF

 A.     The Conversion Relief Should be Granted

        37.      Section 1112(a) of the Bankruptcy Code provides that a debtor may convert a case

 to chapter 7 as a matter of right. See H.R. Rep. No. 95-595, 1st Sess. 405 (1977) (“Subdivision (a)

 gives the debtor an absolute right to convert a voluntarily commenced chapter 11 case in which

 the debtor remains in possession to a liquidation case”); see also Tex. Extrusion Corp. v. Lockheed

 Corp. (In re Tex. Extrusion Corp.), 844 F.2d 1142 (5th Cir. 1988) (“[A] debtor has the absolute

 right to convert [its] Chapter 11 case to a Chapter 7 case”). There are only three circumstances

 where a debtor is precluded from exercising that right: (i) the debtor is not a debtor in possession;

 (ii) the case was originally commenced as an involuntary case under chapter 11; or (iii) the case

 was converted to a case under chapter 11 other than at the debtor's request. 11 U.S.C. § 1112(a).




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 None of those exceptions is applicable in these Chapter 11 Cases. Therefore, the Debtors are

 entitled, as an absolute right, to convert the Chapter 11 Cases to cases under chapter 7.

          38.   In addition, conversion of these Chapter 11 Cases to cases under chapter 7 is in the

 best interests of the Debtors’ estates and creditors. The Debtors no longer have funding to

 administer these Chapter 11 Cases. Thus, although there is substantial inventory and equipment

 remaining in the Debtors’ stores and distribution centers and other estate assets that may be

 available to satisfy certain creditor claims, without an ability to fund ongoing administrative

 expenses, the Debtors have no ability to pursue the recovery of those assets or prosecute a chapter

 11 plan. Accordingly, the Debtors believe there is no reasonable likelihood that the Debtors could

 confirm and consummate a chapter 11 plan, and respectfully submit that a chapter 7 trustee will

 be able to more efficiently and effectively bring these cases to their conclusion.

          39.   Accordingly, the Debtors respectfully request that the Court enter an order

 converting the Debtors’ cases from chapter 11 to chapter 7, effective as of the Conversion Date.

 B.       The Conversion Procedures and Other Related Relief Should Be Approved

          40.   Pursuant to Local Rule 2002-1(f)(xi), “[u]pon conversion of a chapter 11 case to a

 chapter 7 case, if there are more than 200 creditors, the claims agent appointed in the chapter 11

 case shall . . . submit a termination order." Del. Bankr. L.R. 2002-1(f)(xi).

          41.   Accordingly, the Debtor requests that the conversion order sought hereby also

 provides for the termination of KCC services as claims and noticing agent in these Chapter 11

 Cases.

          42.   The Debtor also believes that the Conversion Procedures are appropriate under the

 facts of this case and should be approved. The Conversion Procedures include, among other things,

 a request to extend the deadline under Bankruptcy Rule 1019(1)(A) for the filing of any statements




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 and schedules required by Bankruptcy Rules 1019(1)(A) and 1007(b) from fourteen (14) days after

 the Conversion Date to forty-two days (42) after the Conversion Date.

         43.     The Court has authority to grant the requested extension under Bankruptcy Rules

 1007(c) and 9006(b) and Bankruptcy Local Rule 1007-1(b). Bankruptcy Rule 1007(c), together

 with Bankruptcy Rule 9006(b), allows the Court to extend the filing deadline for the Schedules

 and Statements “for cause shown.” Similarly, Bankruptcy Local Rule 1007-1(b) provides that such

 an extension may be granted for cause. Showing “cause” merely requires that a debtor

 “demonstrate some justification for the issuance of the order,” and bankruptcy courts will normally

 grant such extensions “in the absence of bad faith or prejudice to the adverse party.” See, e.g.,

 Bryant v. Smith, 165 B.R. 176, 182 (W.D. Va. 1994) (discussing the standard for granting

 extensions under Bankruptcy Rule 1007) (internal citations and quotation marks omitted).

         44.     Because of the COVID-19 pandemic and other extremely difficult circumstances

 that have defined these Chapter 11 Cases, the Debtors and their advisors have had virtually no free

 time or resources available since he Petition Date to devote to the preparation of schedules and

 statements required by Bankruptcy Rules 1019(1)(A) and 1007(b). Given the extent of work that

 remains to be done and the extremely limited resources remaining with which to undertake such

 work, which conditions both exist through no fault of the Debtors and their advisors, the Debtors’

 respectfully submit that “cause” exists to extend this deadline. Moreover, since these proceedings

 are still in their very early stages, the granting of such an extension is unlikely to prejudice the

 trustee, any creditor or any other party in interest.

                                               NOTICE

         45.     Notice of this Motion has been provided to: (i) the U.S. Trustee for the District of

 Delaware; (ii) proposed counsel for the Committee; (iii) the agents under the Debtors’ prepetition




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 secured facilities and counsel thereto; and (iv) any party that has requested notice pursuant to

 Bankruptcy Rule 2002. A copy of this Motion is also available on the website of the Debtors’

 notice and claims agent at https://www.kccllc.net/artvan. In light of the nature of the relief

 requested herein, the Debtors submit that no other or further notice is necessary.

                                  RESERVATION OF RIGHTS

        46.     The Debtors understand that employee payroll, the Carve Out and all other

 obligations that are required to be funded and paid under the Interim CC Order, including without

 limitation Paragraph 2 thereof, have been or will be funded and paid prior to the Conversion Date.

 Nevertheless, in the event that such obligations are not funded and paid as required under the

 Interim CC Order, the Debtors reserve all rights for themselves and their estates, including but not

 limited to any chapter 7 trustee that may hereafter be appointed.




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        WHEREFORE, the Debtors respectfully request that the Court enter an order, substantially

 in the form attached hereto, granting the relief requested in this Motion and granting such other

 relief as is appropriate under the circumstances.

 Dated: April 3, 2020                          BENESCH, FRIEDLANDER, COPLAN
 Wilmington, Delaware                          & ARONOFF LLP

                                                 /s/ Gregory W. Werkheiser
                                               Gregory W. Werkheiser (DE No. 3553)
                                               Michael J. Barrie (DE No. 4684)
                                               Jennifer Hoover (DE No. 5111)
                                               Kevin Capuzzi (DE No. 5462)
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                                                       kharmon@beneschlaw.com
                                                       jgentile@beneschlaw.com

                                               Proposed Counsel to the Debtors and Debtors in
                                               Possession




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                                Exhibit A




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                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE

                                                                       )
     In re:                                                            ) Chapter 11
                                                                       )
     ART VAN FURNITURE, LLC, et al., 1                                 ) Case No. 20-10553 (CSS)
                                                                       )
                                         Debtors.                      ) (Jointly Administered)
                                                                       )
                                                                       ) Re: D.I. _______
                                                                       )


       ORDER (I) CONVERTING THEIR CHAPTER 11 CASES TO CASES UNDER
     CHAPTER 7, (II) ESTABLISHING A DEADLINE FOR FILING FINAL CHAPTER 11
        FEE APPLICATIONS AND SETTING A HEARING THEREON, AND (III)
                           GRANTING RELATED RELIEF



              Upon consideration of the corrected motion (the “Motion”) 2 of the above-captioned debtors

 and debtors in possession (collectively, the “Debtors”) for the entry of an order, pursuant to section

 1112(a) of the Bankruptcy Code, (i) converting the Debtors’ chapter 11 cases to cases under

 chapter 7 of the Bankruptcy Code, (ii) establishing a deadline for filing final chapter 11 fee

 applications, and (iii) granting related relief; and it appearing that this Court has jurisdiction to

 consider the Motion pursuant to 28 U.S.C. §§ 1334 and 157, and the Amended Standing Order of

 Reference from the United States District Court for the District of Delaware dated February 29,

 2012; and it appearing that this is a core matter pursuant to 28 U.S.C. § 157(b)(2) and that this



 1
              The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
              identification number, include: Art Van Furniture, LLC (9205); AVF Holding Company, Inc. (0291);
              AVCE, LLC (2509); AVF Holdings I, LLC (2537); AVF Holdings II, LLC (7472); AVF Parent, LLC (3451);
              Levin Parent, LLC (8052); Art Van Furniture of Canada, LLC (9491); AV Pure Sleep Franchising, LLC
              (8968); AVF Franchising, LLC (6325); LF Trucking, Inc. (1484); Sam Levin, Inc. (5198); and Comfort
              Mattress LLC (4463). The location of the Debtors’ service address in these chapter 11 cases is: 6500 East
              14 Mile Road, Warren Michigan 48092.
 2
              Capitalized terms used but not otherwise defined in this Order have the meanings ascribed to such terms in
              the Motion.




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 Court may enter a final order consistent with Article III of the United States Constitution; and it

 appearing that venue of these chapter 11 cases and of the Motion is proper pursuant to 28 U.S.C.

 §§ 1408 and 1409; and it appearing that due and adequate notice of the Motion has been given

 under the circumstances, and that no other or further notice need be given; and this Court having

 determined that the relief requested in the Motion is in the best interests of the Debtors, their

 estates, their creditors, and other parties in interest; and after due deliberation and sufficient cause

 appearing therefor,

         IT IS HEREBY ORDERED THAT:

         1.      The Motion is GRANTED, as set forth herein.

         2.      Effective as of 12:00 a.m. (prevailing Delaware time), on April 7, 2020 (the

 “Conversion Date”), the Chapter 11 Cases shall be converted to cases under chapter 7 of the

 Bankruptcy Code.

         3.      The following Conversion Procedures are hereby approved:

              a. Professional Fees. To the extent professionals currently or hereafter retained in the
                 Chapter 11 case have not already submitted final fee applications to the Court (the
                 “Final Fee Applications”), all professionals shall submit Final Fee Applications in
                 accordance with the Bankruptcy Code, Bankruptcy Rules, Local Rules, and orders
                 of this Court by no later than thirty (30) days after the Conversion Date (the “Final
                 Fee Application Deadline”). Objections, if any, to the Final Fee Applications shall
                 be filed and served by no later than twenty-one (21) days after the Final Fee
                 Application Deadline. The Court will schedule a hearing, if necessary, at the
                 Court’s convenience and subject to the Court’s availability, on such Final Fee
                 Applications within fourteen (14) days thereafter or such later date as the Court
                 determines. To the extent no objections are filed to a given professional’s final fee
                 application, such professional may file a Certificate of No Objection, and the Court
                 may, in its sole discretion, enter an order approving such fees. To the extent the
                 Court approves a Final Fee Application after the Conversion Date, all approved
                 amounts owed for professional fees and expenses shall be paid (x) first, from each
                 professional’s retainer to the extent such retainers exist; (y) next, from the Carve
                 Out Reserves (as defined in the Interim CC Order) in accordance with its terms;
                 and (z) thereafter, from the Debtors’ chapter 7 estates in accordance with the
                 priorities set forth in the Bankruptcy Code.




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             b. Books and Records. As soon as reasonably practicable, but in no event more than
                fourteen (14) days after the appointment of the interim chapter 7 trustee, the
                Debtors shall turn over or provide access to the chapter 7 trustee the books and
                records of the Debtors in the Debtors’ possession and control, as required by
                Bankruptcy Rule 1019(4). For purposes hereof, the Debtors may provide copies
                (including electronic copies) of such books and records to the chapter 7 trustee, or
                instructions for locating and accessing such books and records, and may retain
                copies of such books and records to the extent necessary to complete the reports
                required herein.

             c. Schedules and SOFA. To the extent not already filed with the Court, the statements
                and schedules required by Bankruptcy Rules 1019(1)(A) and 1007(b) shall be filed
                within forty-two (42) days after the Conversion Date.

             d. Schedule of Unpaid Debts. Within fourteen (14) days of the Conversion Date, the
                Debtors shall file a schedule of unpaid debts incurred after commencement of the
                Debtors’ Chapter 11 Cases, including the name and address of each creditor, as
                required by Bankruptcy Rule 1019(5).

             e. Final Report. Within thirty (30) days after the Conversion Date, the Debtors shall
                file and transmit to the chapter 7 trustee a final report and account in accordance
                with Bankruptcy Rule 1019(5)(A).

             f. Claims. Within fourteen (14) days of the Conversion Date, KCC shall (i) forward
                to the Clerk of this Court an electronic version of all imaged claims; (ii) upload the
                creditor mailing list into CM/ECF; (iii) docket a final claims register in the Debtors’
                Chapter 11 Cases; and (iv) box and transport all original claims to the Philadelphia
                Federal Records Center, 14470 Townsend Road, Philadelphia, PA 19154 and
                docket a completed SF-135 Form indicating the accession and location numbers of
                the archived claims.

        4.      Subject to its compliance with Del. Bankr. L.R. 2002-1(f)(x)-(xi), on the

 Conversion Date, KCC shall be relieved of its responsibilities as the Debtors’ claims and noticing

 agent in the Debtors’ Chapter 11 Cases and will have no further obligations to the Court, the

 Debtors, the chapter 7 trustee (once appointed), or any party in interest with respect to the Debtors’

 Chapter 11 Cases or the chapter 7 cases.

        5.      Notwithstanding anything to the contrary in the Interim Order (I) Authorizing the

 Debtors to Use Cash Collateral, (II) Granting Adequate Protection to the Prepetition Secured

 Parties, (III) Modifying the Automatic Stay, (IV) Scheduling a Final Hearing, and (V) Granting




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 Related Relief [D.I. 93] (the “Interim CC Order”), KCC shall be treated as a Professional Person

 (as such term is defined in the Interim CC Order) solely for the purpose of KCC’s eligibility to

 have its fees and expenses paid from the Carve Out Reserves or otherwise as part of the Carve Out

 (each as defined in the Interim CC Order). To the extent that KCC is entitled, or hereafter becomes

 entitled, to payment of its fees and expenses in accordance with the Order Appointing KCC as

 Claims and Noticing Agent Nunc Pro Tunc to the Petition Date [D.I. 77] (the “Claims Agent

 Order”) and the Agreement (as defined in the Claims Agent Order), such fees and expenses shall

 be Allowed Professional Fees (as defined in the Interim CC Order) for purposes of the Carve Out.

        6.      Except as expressly provided in Paragraph 5 above, nothing in this Order or the

 conversion of these Chapter 11 Cases to cases under chapter 7 of the Bankruptcy Code shall affect

 or modify the terms of the Interim CC Order, prejudice any person or entity’s rights thereunder or

 relieve any person or entity of obligations thereunder. All rights, claims, remedies, defenses and

 obligations under and in connection with the Interim CC Order shall be reserved and preserved in

 their entirety. For the avoidance of doubt and without in any way limiting the foregoing, all rights

 and obligations in respect of the Carve Out and the Carve Out Reserves (each as defined in the

 Interim CC Order) shall survive any termination of the Specified Period (as defined in the Interim

 CC Order).

        7.      For the avoidance of doubt, with respect to cash and cash equivalents in the

 possession, custody or control of any Debtor as of the date of entry of this Order, neither the entry

 of this Order, nor any relief granted hereunder, nor the occurrence of the Conversion Date for any

 Debtor’s Chapter 11 Case shall have any effect on whether such cash or cash equivalents (i) are or

 are not funds collected on account of “trust fund taxes” and held in trust for the benefit taxing

 authorities or other governmental units (as defined in section 101(27) of the Bankruptcy Code) or




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 (ii) are or are not property of any Debtor’s bankruptcy estate pursuant section 541 of the

 Bankruptcy Code.

        8.      Nothing herein shall affect the Order Granting the Motion of Jofran Sales, Inc. for

 Injunctive Relief entered on March 27, 2020, in Adversary Proceeding 20-50546.

        9.      This Court shall retain jurisdiction to hear and determine all matters arising from

 or related to the implementation, interpretation and/or enforcement of this Order.




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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                )
     In re:                                                     ) Chapter 11
                                                                )
     ART VAN FURNITURE, LLC, et al.,1                           ) Case No. 20-10553 (CSS)
                                                                )
                                    Debtors.                    ) (Jointly Administered)
                                                                )
                                                                ) Objection Deadline: At the Hearing
                                                                ) Hearing Date: April 6, 2020 at 1:00 p.m. (ET) (requested)
                                                                )

        NOTICE OF VIDEO AND TELEPHONIC HEARING REGARDING DEBTORS’
       CORRECTED MOTION FOR ENTRY OF AN ORDER (I) CONVERTING THEIR
        CHAPTER 11 CASES TO CASES UNDER CHAPTER 7, (II) ESTABLISHING A
     DEADLINE FOR FILING FINAL CHAPTER 11 FEE APPLICATIONS AND SETTING
            A HEARING THEREON, AND (III) GRANTING RELATED RELIEF

              PLEASE TAKE NOTICE that on April 3, 2020, the above-captioned debtors and debtors

 in possession (collectively, the “Debtors”) filed the Debtors Corrected Motion for Entry of an

 Order (I) Converting Their Chapter 11 Cases to Cases Under Chapter 7, (II) Establishing a

 Deadline for Filing Final Chapter 11 Fee Applications and Setting a Hearing Thereon, and (III)

 Granting Related Relief (the “Motion”) with the United States Bankruptcy Court for the District

 of Delaware, 824 Market Street, 3rd Floor, Wilmington, Delaware 19801 (the “Bankruptcy

 Court”). A copy of the Motion is attached hereto.

              PLEASE TAKE FURTHER NOTICE that this Motion will be heard on April 6, 2020

 at 1:00 p.m. (ET), before the Honorable Chief Judge Christopher S. Sontchi via video and

 telephonic conference.


 1
           The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
 identification number, include: Art Van Furniture, LLC (9205); AVF Holding Company, Inc. (0291); AVCE, LLC
 (2509); AVF Holdings I, LLC (2537); AVF Holdings II, LLC (7472); AVF Parent, LLC (3451); Levin Parent, LLC
 (8052); Art Van Furniture of Canada, LLC (9491); AV Pure Sleep Franchising, LLC (8968); AVF Franchising, LLC
 (6325); LF Trucking, Inc. (1484); Sam Levin, Inc. (5198); and Comfort Mattress LLC (4463). The location of the
 Debtors’ service address in these chapter 11 cases is: 6500 East 14 Mile Road, Warren Michigan 48092.




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       PLEASE TAKE FURTHER NOTICE THAT THE HEARING IS PROCEEDING

 VIA ZOOM USING THE FOLLOWING INSTRUCTIONS:

       Topic: Art Van Furniture 20-10553 - Hearing
       Time: Apr 6, 2020 1:00 PM Eastern Time (US and Canada)
       Join Zoom Meeting
       https://uchicago.zoom.us/j/911880719
       Meeting ID: 911 880 719

       DO NOT COME TO THE COURTHOUSE. ANY PARTY WHO WISHES TO

 PRESENT EVIDENCE OR EXAMINE WITNESSES IS REQUIRED TO ACCESS VIA

 ZOOM. ANY PARTY WHO WISHES TO ACCESS VIA ZOOM MUST ALSO MAKE

 AUDIO ARRANGEMENTS THROUGH COURTCALL BY TELEPHONE (888-882-6878)

 OR FACSIMILE (310-743-1850).

       OTHER PARTIES IN INTEREST MAY MAKE ARRANGEMENTS TO

 PARTICIPATE BY TELEPHONE AT THE HEARING THROUGH COURTCALL BY

 TELEPHONE (888-882-6878) OR FACSIMILE (310-743-1850).

       PLEASE TAKE FURTHER NOTICE THAT, IF NO RESPONSES OR

 OBJECTIONS TO THE MOTION ARE TIMELY RECEIVED IN ACCORDANCE WITH

 THIS NOTICE, THE BANKRUPTCY COURT MAY GRANT THE RELIEF

 REQUESTED BY THE MOTION WITHOUT FURTHER NOTICE OR HEARING.




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 Dated: April 3, 2020                  BENESCH, FRIEDLANDER, COPLAN &
 Wilmington, Delaware                  ARONOFF LLP

                                         /s/ Gregory W. Werkheiser
                                       Gregory W. Werkheiser (DE No. 3553)
                                       Michael J. Barrie (DE No. 4684)
                                       Jennifer R. Hoover (DE No. 5111)
                                       Kevin M. Capuzzi (DE No. 5462)
                                       Kate Harmon (DE No. 5343)
                                       John C. Gentile (DE No. 6159)
                                       222 Delaware Avenue, Suite 801
                                       Wilmington, DE 19801
                                       Telephone: (302) 442-7010
                                       Facsimile: (302) 442-7012
                                       E-mail: gwerkheiser@beneschlaw.com
                                               mbarrie@beneschlaw.com
                                               jhoover@beneschlaw.com
                                               kcapuzzi@beneschlaw.com
                                               kharmon@beneschlaw.com
                                               jgentile@beneschlaw.com

                                       Proposed Counsel to the Debtors and Debtors in
                                       Possession




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                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE

                                                                       )
     In re:                                                            ) Chapter 11
                                                                       )
     ART VAN FURNITURE, LLC, et al., 1                                 ) Case No. 20-10553 (CSS)
                                                                       )
                                         Debtors.                      ) (Jointly Administered)
                                                                       )
                                                                       ) Re: D.I. 252
                                                                       )


       ORDER (I) CONVERTING THEIR CHAPTER 11 CASES TO CASES UNDER
     CHAPTER 7, (II) ESTABLISHING A DEADLINE FOR FILING FINAL CHAPTER 11
        FEE APPLICATIONS AND SETTING A HEARING THEREON, AND (III)
                           GRANTING RELATED RELIEF



              Upon consideration of the corrected motion (the “Motion”) 2 of the above-captioned debtors

 and debtors in possession (collectively, the “Debtors”) for the entry of an order, pursuant to section

 1112(a) of the Bankruptcy Code, (i) converting the Debtors’ chapter 11 cases to cases under

 chapter 7 of the Bankruptcy Code, (ii) establishing a deadline for filing final chapter 11 fee

 applications, and (iii) granting related relief; and it appearing that this Court has jurisdiction to

 consider the Motion pursuant to 28 U.S.C. §§ 1334 and 157, and the Amended Standing Order of

 Reference from the United States District Court for the District of Delaware dated February 29,

 2012; and it appearing that this is a core matter pursuant to 28 U.S.C. § 157(b)(2) and that this



 1
              The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
              identification number, include: Art Van Furniture, LLC (9205); AVF Holding Company, Inc. (0291);
              AVCE, LLC (2509); AVF Holdings I, LLC (2537); AVF Holdings II, LLC (7472); AVF Parent, LLC (3451);
              Levin Parent, LLC (8052); Art Van Furniture of Canada, LLC (9491); AV Pure Sleep Franchising, LLC
              (8968); AVF Franchising, LLC (6325); LF Trucking, Inc. (1484); Sam Levin, Inc. (5198); and Comfort
              Mattress LLC (4463). The location of the Debtors’ service address in these chapter 11 cases is: 6500 East
              14 Mile Road, Warren Michigan 48092.
 2
              Capitalized terms used but not otherwise defined in this Order have the meanings ascribed to such terms in
              the Motion.




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 Court may enter a final order consistent with Article III of the United States Constitution; and it

 appearing that venue of these chapter 11 cases and of the Motion is proper pursuant to 28 U.S.C.

 §§ 1408 and 1409; and it appearing that due and adequate notice of the Motion has been given

 under the circumstances, and that no other or further notice need be given; and this Court having

 determined that the relief requested in the Motion is in the best interests of the Debtors, their

 estates, their creditors, and other parties in interest; and after due deliberation and sufficient cause

 appearing therefor,

         IT IS HEREBY ORDERED THAT:

         1.      The Motion is GRANTED, as set forth herein.

         2.      Effective as of 12:00 a.m. (prevailing Delaware time), on April 7, 2020 (the

 “Conversion Date”), the Chapter 11 Cases shall be converted to cases under chapter 7 of the

 Bankruptcy Code.

         3.      The following Conversion Procedures are hereby approved:

              a. Professional Fees. To the extent professionals currently or hereafter retained in the
                 Chapter 11 case have not already submitted final fee applications to the Court (the
                 “Final Fee Applications”), all professionals shall submit Final Fee Applications in
                 accordance with the Bankruptcy Code, Bankruptcy Rules, Local Rules, and orders
                 of this Court by no later than thirty (30) days after the Conversion Date (the “Final
                 Fee Application Deadline”). Objections, if any, to the Final Fee Applications shall
                 be filed and served by no later than twenty-one (21) days after the Final Fee
                 Application Deadline. The Court will schedule a hearing, if necessary, at the
                 Court’s convenience and subject to the Court’s availability, on such Final Fee
                 Applications within fourteen (14) days thereafter or such later date as the Court
                 determines. To the extent no objections are filed to a given professional’s final fee
                 application, such professional may file a Certificate of No Objection, and the Court
                 may, in its sole discretion, enter an order approving such fees. To the extent the
                 Court approves a Final Fee Application after the Conversion Date, all approved
                 amounts owed for professional fees and expenses shall be paid (x) first, from each
                 professional’s retainer to the extent such retainers exist; (y) next, from the Carve
                 Out Reserves (as defined in the Interim CC Order) in accordance with the terms of
                 the Interim CC Order; and (z) thereafter, from the Debtors’ chapter 7 estates in
                 accordance with the Interim CC Order and the priorities set forth in section 726(b)
                 the Bankruptcy Code.




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             b. Books and Records. As soon as reasonably practicable, but in no event later than
                April 10, 2020, the Debtors shall turn over or provide access to the chapter 7 trustee
                the books and records of the Debtors in the Debtors’ possession and control, as
                required by Bankruptcy Rule 1019(4). For purposes hereof, the Debtors may
                provide copies (including electronic copies) of such books and records to the
                chapter 7 trustee, or instructions for locating and accessing such books and records,
                and may retain copies of such books and records to the extent necessary to complete
                the reports required herein.

             c. Schedules and SOFA. Without prejudice to the chapter 7 trustee’s ability to
                request further extensions and any party in interest’s ability to oppose such requests,
                the statements and schedules required by Bankruptcy Rules 1019(1)(A) and
                1007(b) shall be filed within forty-two (42) days after the Conversion Date.

             d. Schedule of Unpaid Debts. Within fourteen (14) days of the Conversion Date, the
                Debtors shall file a schedule of unpaid debts incurred after commencement of the
                Debtors’ Chapter 11 Cases, including the name and address of each creditor, as
                required by Bankruptcy Rule 1019(5).

             e. Final Report. Within thirty (30) days after the Conversion Date, the Debtors shall
                file and transmit to the chapter 7 trustee a final report and account in accordance
                with Bankruptcy Rule 1019(5)(A).

             f. Claims. Within fourteen (14) days of the Conversion Date, KCC shall (i) forward
                to the Clerk of this Court an electronic version of all imaged claims; (ii) upload the
                creditor mailing list into CM/ECF; (iii) docket a final claims register in the Debtors’
                Chapter 11 Cases; and (iv) box and transport all original claims to the Philadelphia
                Federal Records Center, 14470 Townsend Road, Philadelphia, PA 19154 and
                docket a completed SF-135 Form indicating the accession and location numbers of
                the archived claims.

        4.      Subject to its compliance with Del. Bankr. L.R. 2002-1(f)(x)-(xi), on the

 Conversion Date, KCC shall be relieved of its responsibilities as the Debtors’ claims and noticing

 agent in the Debtors’ Chapter 11 Cases and will have no further obligations to the Court, the

 Debtors, the chapter 7 trustee (once appointed), or any party in interest with respect to the Debtors’

 Chapter 11 Cases or the chapter 7 cases.

        5.      Notwithstanding anything to the contrary in the Interim Order (I) Authorizing the

 Debtors to Use Cash Collateral, (II) Granting Adequate Protection to the Prepetition Secured




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 Parties, (III) Modifying the Automatic Stay, (IV) Scheduling a Final Hearing, and (V) Granting

 Related Relief [D.I. 93] (the “Interim CC Order”), KCC shall be treated as a Professional Person

 (as such term is defined in the Interim CC Order) solely for the purpose of KCC’s eligibility to

 have its fees and expenses paid from the Carve Out Reserves or otherwise as part of the Carve Out

 (each as defined in the Interim CC Order). To the extent that KCC is entitled, or hereafter becomes

 entitled, to payment of its fees and expenses in accordance with the Order Appointing KCC as

 Claims and Noticing Agent Nunc Pro Tunc to the Petition Date [D.I. 77] (the “Claims Agent

 Order”) and the Agreement (as defined in the Claims Agent Order), such fees and expenses shall

 be Allowed Professional Fees (as defined in the Interim CC Order) for purposes of the Carve Out.

        6.      Notwithstanding anything to the contrary in the Interim CC Order, the Carve Out

 Reserves shall be established and funded as follows: (a) $2,593,000 (the “Carve Out Escrow

 Funds”) of the Debtors’ funds shall be wired into an IOLTA account at proposed general

 bankruptcy counsel for the Debtors, Benesch, Friedlander, Coplan & Aronoff LLP (“Benesch”),

 pursuant to wire instructions Benesch has provided to the Prepetition ABL Agent, where such

 funds shall be held in trust for the applicable beneficiaries of the Carve Out and disbursed strictly

 in accordance with the terms of this Order and the Interim CC Order (as modified hereby); and (b)

 the Carve Out Reserve for the Chapter 7 Trustee Carve Out shall be deemed funded by allowing

 $50,000 of the Debtors’ funds to remain in a bank account of the Debtors where such funds shall

 remain available to satisfy the reasonable fees and expenses of any interim or permanent chapter

 7 trustee, as applicable, for the Debtors’ bankruptcy cases. The Carve Out Escrow Funds shall be

 disbursed by Benesch only as follows: (i) with respect to the portion of the Carve Out Escrow

 Funds allocable to KCC for fees and expenses incurred as the Claims Agent, in accordance with

 the procedures set forth in the Claims Agent Order and KCC’s Agreement; (ii) with respect to the




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 portions of the Carve Out Escrow Funds allocable to the Debtor Professionals (other than, for the

 avoidance of doubt, KCC) and the Committee Professionals, upon entry of, and in accordance with

 the terms of, such further order or orders of the Court as may be entered following the filing of

 Final Fee Applications and notice and opportunity to object thereto in accordance with the

 procedures set forth in Paragraph 3(a) above; and (iii) with respect to the portion allocable to fees

 required to be paid to (A) the Clerk of the Court and (B) the Office of the United States Trustee

 under section 1930(a) of title 28 of the United States Code, as may hereafter be directed by the

 interim or final chapter 7 trustee, as applicable.

        7.      Except as expressly provided in Paragraphs 5 and 6 above, nothing in this Order or

 the conversion of these Chapter 11 Cases to cases under chapter 7 of the Bankruptcy Code shall

 affect or modify the terms of the Interim CC Order, prejudice any person or entity’s rights

 thereunder or relieve any person or entity of obligations thereunder. All rights, claims, remedies,

 defenses and obligations under and in connection with the Interim CC Order shall be reserved and

 preserved in their entirety. For the avoidance of doubt and without in any way limiting the

 foregoing, (a) all rights and obligations in respect of the Carve Out and the Carve Out Reserves

 (each as defined in the Interim CC Order) shall survive any termination of the Specified Period (as

 defined in the Interim CC Order), and (b) any lien priorities or superpriority claims granted

 pursuant to the Interim CC Order to secure payment of the Carve Out shall be limited to the Carve

 Out Reserves, once funded.

        8.      For the avoidance of doubt, with respect to cash and cash equivalents in the

 possession, custody or control of any Debtor as of the date of entry of this Order, neither the entry

 of this Order, nor any relief granted hereunder, nor the occurrence of the Conversion Date for any

 Debtor’s Chapter 11 Case shall have any effect on whether such cash or cash equivalents (i) are or




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 are not funds collected on account of “trust fund taxes” and held in trust for the benefit taxing

 authorities or other governmental units (as defined in section 101(27) of the Bankruptcy Code) or

 (ii) are or are not property of any Debtor’s bankruptcy estate pursuant section 541 of the

 Bankruptcy Code.

        9.      The Debtors have a need for the services of certain independent contractors,

 including individuals who are former employees of the Debtors (collectively, “Independent

 Contractors”) following the Conversion Date in order to, among other things, (a) provide on-site

 security at the Debtors’ distribution centers, and (b) continue the collection and the Debtors’ books

 and records for transmission to the chapter 7 trustee, prepare the Schedule of Unpaid Debts and

 prepare the Final Report. The Debtors are authorized to pay the Independent Contractors from

 cash on hand in advance for their work and related expenses in an aggregate amount not to exceed

 $73,243 and as further set forth in the Estimated Disbursements Forecast April 6th - April 10th

 provided to the Prepetition ABL Agent on April 5, 2020. After April 10, 2020, the chapter 7

 trustee will determine whether, and to what extent, to continue to use the services of the

 Independent Contractors.

        10.     Nothing herein shall affect the Order Granting the Motion of Jofran Sales, Inc. for

 Injunctive Relief entered on March 27, 2020, in Adversary Proceeding 20-50546.

        11.     This Court shall retain jurisdiction to hear and determine all matters arising from

 or related to the implementation, interpretation and/or enforcement of this Order.




         Dated: April 6th, 2020                       CHRISTOPHER S. SONTCHI
         Wilmington, Delaware                         UNITED STATES BANKRUPTCY JUDGE




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                                                   Guidance to Non-essential     07/25/22
                                                                             Businesses as Part ofPage  56Mitigation
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                                                                                                                                 Department




     Wolf Administration Issues Guidance to
     Non-essential Businesses as Part of COVID-
     19 Mitigation Efforts
     March 14, 2020

        Businesses in Bucks, Chester, Delaware, Montgomery counties urged to close for 14
                                              days

     Harrisburg, PA – Today, the Department of Community and Economic Development
     (DCED), in consultation with the Department of Health (DOH), issued guidance for
     non-essential businesses in Bucks, Chester, Delaware, and Montgomery counties to
     mitigate the spread of COVID-19.

     Governor Tom Wolf has strongly urged non-essential businesses in the four counties
     to close during their county-specific mitigation periods to protect employees,
     customers, and suppliers and limit the spread of the virus through personal contact
     and surfaces. DCED and DOH are reaching out to businesses through a letter
     (https: //dced.pa.gov/letter-from-secretary-levine) to provide guidance on the types
     of businesses that are urged to close. The letter also indicates to businesses that
      nancial assistance opportunities are available to mitigate the nancial impact of
     closures.

     “We are committed to keeping all Pennsylvanians safe and healthy, and we are taking
     every measure to prevent the spread of COVID-19,” said DCED Secretary Dennis Davin.
     “We continue to report new cases of coronavirus every day, and additional steps must
     be taken to stop the spread. Therefore, we strongly urge non-essential businesses
     across Pennsylvania to do their part by temporarily closing to help mitigate the spread
     of this contagious virus.”

     Non-essential businesses include community and recreation centers; gyms, including                                                
                                                                                           Back
     yoga, barre and spin facilities; hair salons, nail salons and spas; casinos; concert venues;
                                                                                          To Top
     theaters; bars; sporting event venues and golf courses; retail facilities, including



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     shopping malls and except for pharmacy or other health care facilities within retail
     operations. Restaurants are urged only to remain open for carry-out and delivery
     orders.

     “We understand that small businesses are an economic driver in Pennsylvania, and a
     temporary closure will be a financial and community disruptor,” Davin said. “However,
     our top priority is maintaining public health and safety of all Pennsylvanians and taking
     these proactive steps now can help mitigate a potential community spread. DCED is
     committed to working with the business community to provide helpful resources for
     financial assistance.”

     DCED offers working capital loans that could be of assistance to businesses impacted
     by COVID-19. Resources and information will be posted to
     https: //dced.pa.gov/resources (https: //dced.pa.gov/resources) as they become
     available. The U.S. Small Business Administration, in addition to local funding partners,
     may also be a source of assistance for affected businesses.

     The Wolf Administration strongly encourages businesses to act now before the
     governor or the Secretary of Health finds it necessary to compel closures under the
     law for the interest of public health, including section 7301 of the Emergency
     Management Services Code.

     MEDIA CONTACTS:
     Casey Smith, DCED, 717.783.1132
     Lyndsay Kensinger, Gov. Wolf, 717-783-1116

                                                                          ###



           covid-19 (https://dced.pa.gov/tag/covid-19/)




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  ALL NON-LIFE-SUSTAINING BUSINESSES IN PENNSYLVANIA TO CLOSE PHYSICAL
  LOCATIONS AS OF 8 PM TODAY TO SLOW SPREAD OF COVID-19
  March 19, 2020


  Press Release, Public Health

  Wolf Administration Orders Closure of Non-Life-Sustaining Businesses at 8 p.m. Today, March 19
  Enforcement Actions for Restaurant, Bar Dine-In Closure Began at 8 p.m., March 18
  Enforcement Actions for Non-Compliance will Begin at 12:01 a.m. Saturday, March 21

  Governor Tom Wolf today ordered all non-life-sustaining businesses in Pennsylvania to close their physical locations as of 8 p.m. today,
  March 19, to slow the spread of COVID-19. Enforcement actions against businesses that do not close physical locations will begin
  at 12:01 a.m. Saturday, March 21.

  Gov. Wolf’s order is here.
  A video statement from Gov. Wolf is here.
  Sec. of Health’s order is here.
  A list of life-sustaining businesses is here.

  In extenuating circumstances, special exemptions will be granted to businesses that are supplying or servicing health care providers.

  “To protect the health and safety of all Pennsylvanians, we need to take more aggressive mitigation actions,” said Gov. Wolf. “This virus
  is an invisible danger that could be present everywhere. We need to act with the strength we use against any other severe threat. And,
  we need to act now before the illness spreads more widely.”

  The governor had previously encouraged non-life-sustaining businesses to close to mitigate the spread of COVID-19. Restaurants and
  bars were already required to stop all dine-in services. Enforcement for establishments with a liquor license began at 8 p.m. March 18,
  and enforcement for all other food establishments will begin at 8 p.m. tonight. Food establishments can offer carry-out, delivery, and
  drive-through food and beverage service, including alcohol.

  Pursuant to the Emergency Management Services Code, the governor is granted extraordinary powers upon his declaration of a
  disaster emergency, such as COVID-19. Among these powers, the governor may control the ingress and egress into the disaster area,
  the movement of persons, and the occupancy of premises within the disaster area, which has been established to be the entire
  commonwealth for the COVID-19 disaster emergency. The secretary of health separately is authorized under the law to employ
  measures necessary for the prevention and suppression of disease.

  Separately, and taken together, the administration is exercising these powers to temporarily close all non-life-sustaining businesses and
  dine-in facilities at all restaurants and bars across the commonwealth. Persons must be removed from these premises to cope with the
  COVID-19 disaster emergency.

  Failure to Comply and Enforcement
  Failure to comply with these requirements will result in enforcement action that could include citations, fines, or license suspensions.

  The governor has directed the following state agencies and local officials to enforce the closure orders to the full extent of the law:

     Pennsylvania Liquor Control Board
     Department of Health
     Department of Agriculture
     Pennsylvania State Police
     Local officials, using their resources to enforce closure orders within their jurisdictions




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  Private businesses, local organizations and other noncompliant entities that fail or refuse to comply with the governor’s orders that
  protect the lives and health of Pennsylvanians will forfeit their ability to receive any applicable disaster relief and/or may be subject to
  other appropriate administrative action. Such action may include termination of state loan or grant funding, including Redevelopment
  Assistance Capital Project (RACP) grant funding and/or suspension or revocation of licensure for violation of the law.

  Finally, in addition to any other criminal charges that might be applicable, the Department of Health is authorized to prosecute
  noncompliant entities for the failure to comply with health laws, including quarantine, isolation or other disease control measures.
  Violators are subject to fines or imprisonment.

  Business Loans and Support
  The Department of Community and Economic Development (DCED) offers working capital loans that could be of assistance to
  businesses impacted by COVID-19. Resources and information will be posted to http://dced.pa.gov/resources as they become
  available. The U.S. Small Business Administration, in addition to local funding partners, may also be a source of assistance for affected
  businesses.

  The Wolf Administration today announced the availability of low-interest loans for small businesses and eligible non-profits in all 67
  counties in Pennsylvania through the U.S. Small Business Administration (SBA).

  Businesses seeking guidance from DCED can also contact its customer service resource account at ra-dcedcs@pa.gov or by calling 1-
  877-PA-HEALTH and selecting option 1.

  For the most up-to-date information on COVID-19, Pennsylvanians should visit: https://www.pa.gov/guides/responding-to-covid-19/.




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                              IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF DELAWARE


 IN RE:                                                        Chapter 7
                                                               Case No. 20-10553 (CTG)
 START MAN FURNITURE, LLC, et al.1                             Jointly Administered


     TODD STEWART and JENNIFER SAWLE,                          Civil Action No. 22-cv-450 (CFC)
     on behalf of themselves and all others
     similarly situated,                                       Bankruptcy Case No. 20-10553 (CTG)
                                                               Bankruptcy Adv. Pro. No. 20-50548 (CTG)
                                     Appellants,               Bankruptcy BAP No. 22-00030
     v.


     ALFRED T. GIULIANO, chapter 7 trustee
     for Debtors Start Man Furniture, LLC, et al.,

                                     Appellee.


     ALFRED T. GIULIANO, chapter 7 trustee
     For Debtors Start Man Furniture, LLC, et al.,             Civil Action No. 22-cv-489 (CFC)

                                     Appellant,                Bankruptcy Case No. 20-10553 (CTG)
                                                               Bankruptcy Adv. Pro. No. 20-50548 (CTG)
     v.                                                        Bankruptcy BAP No. 22-00032

     TODD STEWART and JENNIFER SAWLE,
     on behalf of themselves and all others
     similarly situated,

                                     Appellees.



 1
   The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, include:
 Start Man Furniture, LLC (f/k/a Art Van Furniture, LLC) (9205); SVF Holding Company, Inc. (f/k/a AVF Holding
 Company, Inc.) (0291); SVCE, LLC (f/k/a AVCE, LLC) (2509); StartVF Holdings I, LLC (f/k/a AVF Holdings I,
 LLC) (2537); StartVF Holdings II, LLC (f/k/a AVF Holdings II, LLC) (7472); SVF Parent, LLC (f/k/a AVF Parent,
 LLC) (3451); Levin Parent, LLC (8052); Start Man Furniture of Canada, LLC (f/k/a Art Van Furniture of Canada,
 LLC) (9491); SV Sleep Franchising, LLC (f/k/a AV Pure Sleep Franchising, LLC) (8968); SVF Franchising, LLC
 (f/k/a AVF Franchising, LLC) (6325); LF Trucking, Inc. (1484); Sam Levin, Inc. (5198); and Comfort Mattress LLC
 (4463).



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                              CROSS-APPELLANT’S OPENING BRIEF
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                                           Beth E. Levine (admitted pro hac vice)
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                                           Counsel to Alfred T. Giuliano, Chapter 7 Trustee




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                        CORPORATE DISCLOSURE STATEMENT

         Each of the Debtors listed below* is wholly directly or indirectly owned by

 SVF       Holding        Company,   Inc.   (f/k/a   AVF   Holding   Company,   Inc.)

 (“Holding”). Holding has no corporate parent, and there is no publicly held

 corporation that owns 10% or more of its stock.

         *Applicable Debtors: Start Man Furniture, LLC (f/k/a Art Van Furniture,

 LLC); SVCE, LLC (f/k/a AVCE, LLC); StartVF Holdings I, LLC (f/k/a AVF

 Holdings I, LLC); StartVF Holdings II, LLC (f/k/a AVF Holdings II, LLC); SVF

 Parent, LLC (f/k/a AVF Parent, LLC); Levin Parent, LLC; Start Man Furniture of

 Canada, LLC (f/k/a Art Van Furniture of Canada, LLC); SV Sleep Franchising, LLC

 (f/k/a AV Pure Sleep Franchising, LLC); SVF Franchising, LLC (f/k/a AVF

 Franchising, LLC); LF Trucking, Inc.; Sam Levin, Inc.; and Comfort Mattress LLC.




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         Cross-Appellant and Appellee Alfred T. Giuliano, Chapter 7 Trustee

 (“Trustee” or “Cross-Appellant”), in connection with his cross-appeal to the United

 States District Court for the District of Delaware from the final order of the United

 States Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”), set

 forth in its Opinion and Order filed on March 21, 2022 [Adv. D.I. 63 & 64]

 (Appendix A001693-A001721 and A001722, respectively) (the “Opinion” or

 “Order”),2 hereby submits his Cross-Appellant’s Opening Brief.

                              BASIS OF APPELLATE JURISDICTION

         The Bankruptcy Court had jurisdiction over the voluntary petition for relief

 under Title 11 of the United States Code (the “Bankruptcy Code”). The Bankruptcy

 Court had jurisdiction over this matter pursuant to 28 U.S.C. §§ 157(a) and 1334(a).

 The Bankruptcy Court had jurisdiction over the adversary proceeding as a core

 proceeding in accordance with 28 U.S.C. § 157(b)(1).

         This Court has jurisdiction over this timely appeal from the Opinion and the

 Order of the Bankruptcy Court, which denied the Trustee’s motion for summary

 judgment (the “SJ Motion”) solely with respect to the “liquidating fiduciary”

 exception under the Federal Worker Adjustment and Retraining Notification Act.




 2
   All citations herein to “Adv. D.I. __” refer to the adversary proceeding docket in Adversary Number 20-
 50548 (CSS). All citations to “Bankr. D.I. __” refer to the Debtors’ lead Chapter 11 Case, Case No. 20-
 10553 (CSS).


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 Pursuant to the Opinion and the Order, the Bankruptcy Court granted the SJ Motion

 in favor of the Trustee on all other bases.3

                       STATEMENT OF ISSUE ON CROSS-APPEAL

         Did the Bankruptcy Court err in finding that the “liquidating fiduciary”

 exception to the Federal Worker Adjustment and Retraining Notification Act (the

 “WARN Act”) does not apply to the instant case?

                                SUMMARY OF ARGUMENT

         The Third Circuit Court of Appeals has specifically held that where, as here,

 a chapter 11 debtor-in-possession has ceased operating as a going concern and is

 merely conducting a liquidation, it is not operating a “business enterprise” and is

 therefore not, an “employer” subject to the WARN Act.4 In re United Healthcare

 System, Inc., 200 F.3d 170, 178 (3d Cir. 1999), cert denied, 530 U.S. 1204 (2000).

 The Bankruptcy Court erred by incorrectly determining that the “liquidating

 fiduciary” exception to WARN Act liability established in United Healthcare does

 not apply to the instant case.

         Importantly, as discussed below, the United Healthcare court explained that

 the application of the “liquidating fiduciary” exception would be subject to a sliding

 scale: “the more closely the [debtor’s] activities resemble those of a business


 3
   Pursuant to the Opinion and Order, the Bankruptcy Court granted the Trustee’s SJ Motion with respect to
 the following: (i) the “unforeseen business circumstances” exception under the WARN Act applies in this
 case; and (ii) the COVID-19 pandemic falls within the “natural disaster” exception under the WARN Act.
 4
   The WARN Act defines an “employer” as “any business enterprise that employs (A) 100 or more
 employees, excluding part-time employees; or (B) 100 or more employees who in the aggregate work at
 least 4,000 hours per week (exclusive of hours of overtime).” 29 U.S.C. § 2101(a)(1).


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 winding up its affairs, the more likely it is the entity is not subject to the WARN

 Act.” 200 F.3d at 178. The Third Circuit did not view a debtor’s liquidation process

 in a chapter 11 case, including a postpetition sale of the debtor’s goodwill (i.e., a

 going concern sale), as the conduct of business “in the normal commercial sense”

 that would make the entity an employer for WARN Act purposes.

         In determining that the “liquidating fiduciary” exception did not apply, the

 Bankruptcy Court erroneously focused on the facts that the Debtors conducted

 postpetition going-out-of-business (“GOB”) sales at a number of stores, which

 would be closed thereafter, and kept certain stores temporarily open pending the

 going-concern sale of those stores to a third party in the bankruptcy case. But the

 United Healthcare court recognized that a debtor’s actions in connection with and/or

 in preparation of a goodwill/going concern sale (including limited postpetition

 business operations) can be consistent with and part of the liquidating fiduciary

 function and an exception to WARN liability. As in United Healthcare, the Debtors’

 actions here, from the beginning of the Chapter 11 Cases (and even before the

 Chapter 11 Cases), publicly and openly demonstrated a clear intent to liquidate the

 Debtors’ stores and other assets, and not to operate their business “in the normal

 commercial sense.” 200 F.3d at 177 (quoting 54 Fed. Reg. at 16045).

         Accordingly, the Opinion and the Order of the Bankruptcy Court should be

 reversed solely with respect to the Bankruptcy Court’s rulings relating to the

 “liquidating fiduciary” exception. The Bankruptcy Court erred in not granting




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 summary judgment in favor of the Trustee on the basis of the “liquidating fiduciary”

 exception articulated by the Court of Appeals for the Third Circuit.

                              STANDARD OF REVIEW

         This appeal involves review of the Bankruptcy Court’s grant of summary

 judgment, a purely legal determination governed by a de novo standard of review.

 American Flint Glass Workers Union v. Anchor Resolution Corp., 197 F.3d 76, 80

 (3d Cir. 1999). The District Court assesses the record using the same standards for

 summary judgment employed by the Bankruptcy Court. In re Mushroom Transp.

 Co., Inc., 382 F.3d 325, 335 (3d Cir. 2004) (citing Farrell v. Planters Lifesavers Co.,

 206 F.3d 271, 278 (3d Cir. 2000)). A Bankruptcy Court abuses its discretion when

 its ruling is founded on a clearly erroneous finding of fact, an error of law, or a

 misapplication of law to the facts. Marco v. Accent Pub. Co., 969 F.2d 1547, 1548

 (3d Cir. 1992); Hanover Potato Products, Inc. v. Shalala, 989 F.2d 123, 127 (3d Cir.

 1993).

         Summary judgment is appropriate where the moving party can demonstrate

 “that there is no genuine issue as to any material fact and the moving party is entitled

 to judgment as a matter of law.” Fed. R. Civ. P. 56(c). Appellant is entitled to the

 evidence in the light most favorable to the non-movant, “draw[ing] all reasonable

 inferences in favor of the non-moving party.” Fields v. Thompson Printing Co., Inc.,

 363 F.3d 259, 265 (3d Cir. 2004).

                              STATEMENT OF FACTS

 A.      General Background

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           Prior to March 8, 2020 (the “Petition Date”), the Debtors had sold furniture

 for over 60 years, with 169 stores in Michigan, Indiana, Ohio, Illinois, Pennsylvania,

 Maryland, Missouri, and Virginia, and approximately 4,500 employees.5

           On the Petition Date, Art Van Furniture, LLC (“AVF”), Sam Levin, Inc.

 (“SLI”) and the other related above-captioned debtors (collectively, the “Debtors”

 or “Art Van”) commenced their respective voluntary cases under chapter 11 of the

 Bankruptcy Code (the “Chapter 11 Cases”) to continue liquidating substantially all

 of their assets, an effort which had started before the Petition Date. The Debtors’

 cases are being jointly administered under lead Case No. 20-10553 (CSS). Upon the

 Debtors’ motion (the “Conversion Motion”), based on the facts and circumstances

 described further below, on April 6, 2020, less than a month after the Petition Date,

 the Chapter 11 Cases were converted to chapter 7 proceedings (the “Cases”).

           The Debtors filed the Chapter 11 Cases with the express intention of winding

 down their affairs by liquidating their inventory through store closing sales (the

 “GOB Sales”), paying down their secured debt, and using any remaining proceeds

 of their GOB Sales to wind-down their operations.6 In addition, as of the Petition

 Date, the Debtors were party to a binding letter of intent for a sale of 44 Levin and

 Wolf stores and related assets and operations to a third party buyer. The GOB Sales,

 the Levin Sale (as defined and described below), and other actions taken by the

 5
  Declaration of David Ladd, Executive Vice President and Chief Financial Officer of Art Van Furniture,
 LLC, in Support of Chapter 11 Petitions and First Day Motions [Bankr. D.I. 12] (“Ladd Declaration”) at 2
 (Appendix A0000001-000032).
 6
     Ladd Declaration at ¶¶ 6 & 18.


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 Debtors in the Chapter 11 Cases were all part of the orderly liquidation and wind-

 down started by the Debtors before and continuing after the Petition Date (the

 “Planned Liquidation Process”) to maximize the liquidation value of the estates’

 assets and the recoveries for the Debtors’ creditors.7

 B.        The Planned Liquidation Process
           In the months leading up to the Petition Date, Art Van struggled under the

 weight of poor sales and $208.5 million in secured debt encumbering substantially

 all of its assets made up of: (i) $33.5 million in an asset-backed loan (“ABL Loan”)

 from Wells Fargo Bank (“Wells Fargo”) and (ii) a $175 million term loan (the “Term

 Loan”) from FS KKR Capital Corp. (the “Term Lenders” and together with Wells

 Fargo, the “Secured Lenders”).8 Art Van defaulted on the ABL Loan on February

 5, 2020 and had only been able to obtain a forbearance from Wells Fargo through

 February 28, 2020, giving it 23 days to find a buyer, an investor or a means of

 recapitalizing the business. As a condition to the forbearance, Wells Fargo insisted

 that the Debtors begin preparing for going-out-of-business (GOB) sales. 9

           In spite of the Debtors’ efforts over the next 23 days in February 2020, by

 February 28, 2020, the Debtors were unable to secure financing or attract a going

 concern buyer.10 The forbearance period ended on that date, and the Debtors had no


 7
     Ladd Declaration at ¶¶ 6, 16, 17, 18, 19, 20, 40, 41, 42 & 43.
 8
     See Ladd Declaration at ¶¶ 7, 8, 13, 14, 16, 17, 18, 31-36.
 9
     See Ladd Declaration at ¶¶ 14 & 36.
 10
   See Transcript of March 10, 2020 hearing (attached as Exhibit B to Sandler Declaration) at p. 55, line 25
 to 57, line 20 (Appendix A000530-A000532); Ladd Declaration at ¶¶ 14-15.


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 alternative but to commence an orderly wind-down of their operations and liquidate

 their assets.11 To that end, before the Petition Date, the Debtors negotiated a wind-

 down budget with Wells Fargo (“Wind-Down Budget”), hired a liquidator, and

 announced publicly that after decades of operations, they were going out of

 business.12

           As part of the Planned Liquidation Process, on March 4, 2020, SLI entered

 into a letter agreement (the “Levin LOI”) pursuant to which it agreed to liquidate

 certain stores (most of which were in Pennsylvania), two distribution centers and

 certain other assets (the “SLI Assets”) by a sale to Robert Levin (the “Levin Sale”).13

 The Levin Sale was expected to be approved in bankruptcy and consummated in or

 about early April 2020.

           The Levin LOI contemplated that although the Levin Sale stores would be

 monetized by liquidating those assets, the Levin Sale stores would briefly continue

 operating under the Art Van banner to preserve their value for the buyer pending the




 11
      See Ladd Declaration at ¶¶ 16-18.
 12
    See Ladd Declaration at ¶¶ 16-18; Interim Order (I) Authorizing the Debtors to Use Cash Collateral, (II)
 Granting Adequate Protection to the Prepetition Secured Parties, (III) Modifying the Automatic Stay, (IV)
 Scheduling a Final Hearing, and (V) Granting Related Relief [Bankr. D.I. 93] (the “Interim CC Order”) at
 13 (Appendix A000238-A000302). On March 5, 2020, the Debtors entered into an agreement (the
 “Consulting Agreement”) with HilcoMerchant Resources, LLC (the “Liquidator”) (Appendix A001084-
 A001123). See Interim CC Order at 12. See also “Art Van Furniture to close all stores, including 24 in
 Illinois,” Chicago Tribune, March 5, 2020, available at https://www.chicagotribune.com/business/ct-biz-
 art-van-shutting-down-20200305-2efw2ukfk5g2dfpzgooebjv7ry-story.html             (Appendix     A000776-
 A000779) (“Art Van GOB Press Release”).
 13
  Robert Levin had owned the stores that were the subject of the Levin LOI prior to them being sold to the
 Debtors.


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 approval of the Levin Sale by the Bankruptcy Court.14 Because the Debtors had no

 money to operate these stores (they only had the money that Wells Fargo had agreed

 to let them use to conduct the GOB Sales), Robert Levin agreed to extend $10

 million of debtor-in-possession (DIP) financing to SLI (the “Levin DIP Loan”) to

 facilitate the bankruptcy process to allow for the Bankruptcy Court’s approval of the

 Levin Sale, which $10 million then would be repaid with and deducted from the

 sales proceeds of the Levin Sale.15

         In sum, as of March 5, 2020, the Debtors had put into place an orderly full

 business liquidation process, comprised of the GOB Sales to liquidate AVF’s assets

 including 125 stores and the Levin Sale to liquidate the SLI Assets.

         On March 5, 2020, Art Van publicly announced that it was liquidating and

 going out of business.16 Indeed, plaintiffs have acknowledged and admitted that the


 14
   See Ladd Declaration at ¶¶ 40-41. See also Debtors’ Motion for Entry of Interim and Final Orders (I)
 Authorizing Secured Post-Petition Financing Pursuant to 11 U.S.C. Sections 105, 361, 364(c) and 364(d);
 and (II) Granting Related Relief [Bankr. D.I. 49] (“Levin DIP Motion”) (Appendix A000033-A000109).
 15
    See Levin DIP Motion; Interim Order on Levin DIP Motion [Bankr. D.I. 137] (“Interim Levin DIP
 Order”). Because the Levin DIP Loan would be repaid with and deducted from the sales proceeds of the
 Levin Sale, this financing transaction and the Debtors’ related alleged “operation” of the Levin Stores were
 done to preserve the value of these stores until consummation of the Levin Sale for the benefit of the third
 party buyer, not the Debtors. The foregoing cannot be reasonably considered to be the “normal” operation
 of a business.
 16
    See Art Van GOB Press Release; “Art Van Furniture to Close All Stores; Going Out of Business Sales
 to Start Friday, March 6,” PRNewswire (March 5, 2020), available at https://www.prnewswire.com/news-
 releases/art-van-furniture-to-close-all-stores-going-out-of-business-sales-to-start-friday-march-6-
 301017308.html (Art Van “announced today it has made the difficult decision to wind down operations and
 begin liquidation sales”); M. Feighan, et al., “‘Heartbroken,’ ‘angry’: Art Van closing shocks customers,
 city      leaders,”      The       Detroit      News       (March       5,      2020),      available  at
 https://www.detroitnews.com/story/news/local/michigan/2020/03/05/art-van-close-all-stores-start-going-
 out-business-sale-friday/4962367002/ (“Art Van Furniture, a Metro Detroit institution and one of the
 largest furniture retailers in the Midwest, will close all of its company-owned stores and liquidate its
 inventory ….”).


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 Debtors began their liquidation plan at this time. See Class Action Adversary

 Proceeding Complaint For Violation of WARN Act 29 U.S.C. § 2101, et seq. [Adv.

 Docket No. 1] (the “Complaint”) (Appendix A000335-A000345), at ¶ 25 (“…

 Debtors began to execute on its planned liquidation.”).

         On March 5, 2020, as part of its Planned Liquidation Process, although not

 required, AVF issued a WARN Act notice to approximately 1,400 potentially

 “affected employees” who worked in or reported to seven facilities in Michigan, two

 facilities in Illinois and one in Pennsylvania. Each of the Plaintiffs who worked at

 an affected location in Michigan and were notified as follows:


                  Art Van Furniture, LLC (the “Company”) has made the
                  difficult decision to wind-down its operations, which will
                  include the closure of its facilities located at 6500 E 14
                  Mile Rd, Warren, MI, 48092; 27775 Novi Rd, Novi, MI,
                  48377; 4375 28th St SE, Grand Rapids, MI,49321; 4095 E
                  Court St, Burton, MI, 48509; 14055 Hall Rd, Shelby
                  Township, MI, 48315; 8748 W Saginaw Hwy, Lansing,
                  MI, 48917; and 4273 Alpine Ave Nw Ste B, Alpine, MI,
                  49321, and will be permanently terminating the
                  employment of all employees at these locations.

                  The Company submits this notice to you to satisfy any
                  obligation that may exist under the federal Worker
                  Adjustment and Retraining Notification Act, 29 U.S.C. §
                  2101 et seq. (the “WARN Act”). If no obligations exist,
                  this notice is being provided to you voluntarily.

                  All terminations of employment will be permanent and
                  you will not have bumping rights for other positions (i.e.,
                  you will not have the right to displace employees with less
                  seniority). While an exact date has not yet been established
                  for these closures, it is anticipated that your employment
                  with the Company will terminate on May 5, 2020 or a date


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                   within 14 days thereafter which may be provided to you
                   by the Company (your “Termination Date”). Nothing in
                   this letter alters your at-will employment status with the
                   Company.

                   You will be required to work through your Termination
                   Date, following which date you will not be required to
                   report to work or provide any services to the Company.

 (the “GOB Sale WARN Notice”) (Appendix A000875).17
           The Debtors’ target date to end the GOB Sales was the end of April 2020.18

 The GOB Sales commenced as expected, and went well at first.19

 C.        The Chapter 11 Cases
           On the Petition Date, the Debtors filed their Chapter 11 Cases and filed “first

 day motions” to obtain approval of, inter alia, the Wind-Down Budget,20 the Levin

 DIP,21 and GOB Sales and the Consulting Agreement with the Liquidator.22 On

 March 11, 2020, the Bankruptcy Court entered an interim cash collateral order,



 17
   Notably, given how transparent and proactive Art Van was from early on in informing its employees and
 the public and other parties in interest of Art Van’s liquidation and wind-down, it cannot be credibly argued
 that the Debtors were engaged in gamesmanship to avoid any legitimate WARN Act liabilities.
 18
  See Ladd Declaration at ¶ 18 (Debtors seeking to complete store closure sales in six to eight weeks from
 March 5, 2020).
 19
   Corrected Motion for Entry of Order Converting Their Chapter 11 Cases to Cases Under Chapter 7
 [Bankr. D.I. 252] (Appendix A000304-A000333) (the “Conversion Motion”) at ¶ 22.
 20
   See Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors to Use Cash
 Collateral, (II) Granting Adequate Protection to the Prepetition Secured Parties, (III) Modifying the
 Automatic Stay, (IV) Scheduling a Final Hearing, and (V) Granting Related Relief [Bankr. D.I. 5]
 (Appendix A000908-A000934).
 21
      See Levin DIP Motion; Interim Levin DIP Order.
 22
    See Debtors’ Motion for Entry of Interim and Final Orders (I) Approving Procedures for Store Closing
 Sales, (II) Authorizing Customary Bonuses to Employees of Closing Stores; (III) Authorizing Assumption
 of Consulting Agreement and (IV) Granting Related Relief [Bankr. D.I. 52] (Appendix A000110-A000237).


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 authorizing the Debtors to use cash collateral in accordance with the Wind-Down

 Budget until April 7, 2020 (unless terminated earlier due to default or entry of a final

 order) to conduct the GOB Sales. The Wind-Down Budget assumed that the GOB

 Sales would continue unabated through April 30, 2020, and provided that “the failure

 by the Debtors to continue sales of the Assets in accordance with the Consulting

 Agreement and to assume the Consulting Agreement on a timely basis” is a default,

 and thus, the Debtors continued their ongoing GOB sales.23

           The unprecedented and extraordinary adverse effects during this period

 (social, economic, and business) caused by the COVID-19 pandemic, confronting

 the Debtors and many other businesses, are a matter of public record.24 Among other

 signs of the escalation of the pandemic, on March 13, 2020, then-President Donald

 Trump declared a national emergency.25

           Art Van continued the hearing on its first day motions to March 12, 2020. The

 Bankruptcy Court apologized for taking the bench 40 minutes late, saying, “I very

 much apologize. As I’m sure you all are aware, things are developing very quickly.

 It is taking a lot of my time.”26 At the hearing, the Bankruptcy Court and the U.S.




 23
      Interim CC Order at pp. 34-35.
 24
   See Declaration of Bradford Sandler [Adv. D.I. 46] (Appendix A000435-A001427) (the “Sandler
 Declaration”), Exhibits L to S attached thereto (Appendix A001206-A001250).
 25
      See Sandler Declaration, Exhibit L attached thereto (Appendix A001206-A001208).
 26
   Transcript of March 12, 2020 Hearings (attached as Exhibit K to Sandler Declaration) at p. 5, lines 5-7.
 (Appendix A001129).


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 Trustee expressed concerns about the fee in the Liquidator’s Consulting Agreement

 and continued that portion of the Debtors’ GOB sale motion to March 20, 2020.

 D.        Plaintiffs’ Termination by Debtors and the Conversion to Chapter 7
           Notwithstanding the careful planning of the Debtors and their advisors, as a

 result of the COVID-19 pandemic and resultant shutdowns, shortly after the Petition

 Date, the Debtors’ situation changed drastically upending the Debtors’ plans for an

 orderly liquidation. Customer traffic in the Debtors’ stores, which had been robust

 just days earlier, dissipated to almost nothing within the first week after the Petition

 Date. Specifically, during the initial days of the GOB Sales from March 5-8, 2020,

 deposits from inventory sales were in excess of $23 million; however, for the full

 week ending March 15, 2020, deposits from sales were just $8 million,27 suggesting,

 among other things, a precipitous drop in customer traffic in the Debtors’ stores.

 Further, on March 19, 2020, the proposed purchaser for the Levin Sale notified the

 Debtors that they would not proceed with the transaction, and thus, the stores

 covered by the Levin Sale would also have to be immediately closed by the

 Debtors.28

           Ultimately, the restrictions on economic and other activity that various state

 and local governments determined to be necessary to slow the spread of the COVID-

 19 disease mandated that the Debtors discontinue all retail operations and other non-



 27
      Conversion Motion at ¶ 22.
 28
      Conversion Motion at ¶ 26.


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 essential business operations – a scenario they had not and could not have planned

 for when they developed their Planned Liquidation Process.29

           Soon thereafter, the Debtors’ management, with their professionals’ counsel

 and assistance, determined that the Planned Liquidation Process, in its then-existing

 form, was no longer viable and that a more immediate shutdown of the Debtors’

 stores and remaining support operations was in the estates’ and creditors’ best

 interest.30 Thus, on March 19, 2020, the Debtors made the painful decision to

 suspend all sales operations in all stores and terminate the majority of their

 employees, excluding workers who would be needed for the rest of the liquidation

 and wind-down process.31

           Accordingly, on March 19, 2020, AVF issued a WARN Act notice to

 employees which stated:

                   On March 5, 2020, Art Van Furniture, LLC (the “Company”)
                   informed employees that it had made the difficult decision to
                   wind-down its operations, to include the closure of its retail
                   facilities located at 6500 E 14 Mile Rd, Warren, MI, 48092;
                   27775 Novi Rd, Novi, MI, 48377; 4375 28th St SE, Grand
                   Rapids, MI, 49321; 4095 E Court St, Burton, MI, 48509; 14055
                   Hall Rd, Shelby Township, MI, 48315; 8748 W Saginaw Hwy,
                   Lansing, MI, 48917; and 4273 Alpine Ave Nw Ste B, Alpine,
                   MI, 49321, which would in the permanent termination the
                   employment of all employees at these locations.

                   Since initial notice, the Company has been impacted by the
                   novel COVID-19 virus and the resulting, and sudden, negative

 29
      Conversion Motion at ¶¶ 1-2.
 30
      Conversion Motion at ¶¶ 1-2.
 31
      Conversion Motion at ¶ 25.


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                  economic impact. Due to these unforeseen events, the
                  Company can no longer support the wind-down of its retail
                  operations through the originally projected termination date.
                  The Company, therefore, submits this revised notice to you to
                  satisfy any obligation that may exist under the federal Worker
                  Adjustment and Retraining Notification Act, 29 U.S.C. § 2101
                  et seq. (the “WARN Act”).
                  All terminations of employment will be permanent and you will
                  not have bumping rights for other positions (i.e., you will not
                  have the right to displace employees with less seniority). The
                  employment of Art Van’s sales associates and other
                  commissioned employees, visuals, housekeepers, drivers,
                  helpers, and other hub warehouse staff, Selling Managers and
                  Outlet Managers as well as any Sales or Store Manager who is
                  not scheduled to perform services on March 21, 2020 or March
                  22, 2020, will be terminated on March 20, 2020. All CPU’s and
                  office staff, along with the Store Manager and/or Sales Manager
                  scheduled to work on March 21, 2020 or March 22, 2020 will be
                  terminated at the end of the business day on March 22, 2020.
                  Nothing in this letter alters your at-will employment status with
                  the Company. You will be required to work through your
                  Termination Date, following which date you will not be required
                  to report to work or provide any services to the Company.

 (the “COVID WARN Notice”) (Appendix A001252) (emphasis added).

         Plaintiffs Todd Stewart and Jennifer Sawle were two of AVF’s employees,

 and each worked at one of AVF’s 82 stores in the State of Michigan (where AVF

 also had it main trucking terminal, its corporate headquarters and a distribution

 center). Mr. Stewart was a store manager at an AVF Store in Shelby Township,

 Michigan; and Ms. Sawle was a salesperson at an AVF Store in Lansing, Michigan.

 In accordance with the COVID WARN Notice, the Trustee believes that Mr. Stewart




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 and Ms. Sawle were both terminated by AVF, as were most of AVF’s and SLI’s

 employees, on March 20, 2022 (the “Layoff”).32

            Wells Fargo declared a default under the Interim CC Order, and terminated

 use of cash collateral as of March 24, 2020; later extended through March 31 and

 finally April 6.33 Unable to continue the Chapter 11 Cases without the continued

 consent of the Debtors’ secured lenders to use their cash collateral, the Debtors filed

 the Conversion Motion and the Chapter 11 Cases were converted to chapter 7

 proceedings pursuant to an order entered on April 6, 2020.34 In ruling on the

 Conversion Motion, Judge Sontchi stated:

                    This case is very unfortunate. It’s really been a parade of
                    unfortunate events that has kind of conspired to put a long-
                    standing, solid business into liquidation. And, as I sit here
                    today, I certainly don’t have enough information to blame
                    anyone or anything other than the coronavirus and the
                    disaster it has left in its wake.35
            Upon the conversion, Alfred Giuliano was appointed as the chapter 7 trustee

 [Bankr. D.I. 264] (Appendix A000334).

 E.         The Adversary Proceeding
            On March 23, 2020, Plaintiffs initiated the adversary proceeding (the

 “Adversary Proceeding”) by filing the Complaint (Appendix A000335-A000345) in


 32
      Complaint, at ¶¶ 6, 7, 10.
 33
      Conversion Motion at ¶ 27.
 34
   See Order Granting Debtor’s Amended Motion to Convert [Bankr. D.I. 263] (Appendix A001344-
 A001349) (“Conversion Order’).
 35
    See Transcript of April 6, 2020 Hearing (attached as Exhibit X to Sandler Declaration) at 28, line 24 to
 p. 29, line 5 (Appendix A001378-A001379).


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 which they assert that the Debtors violated the WARN Act and seek, inter alia,

 judgment in favor of Plaintiffs and other similarly situated former employees for

 unpaid wages and other benefits and damages for up to 60 days that would have been

 otherwise paid, all determined in accordance with the WARN Act.

         The Trustee filed an Answer on December 10, 2020 [Adv. D.I. 25] (Appendix

 A000346-A000362), and in accordance with the Pretrial Scheduling Order [Adv.

 D.I. 31] (Appendix A000363-A000368), on October 29, 2021, the Trustee filed his

 First Amended Answer [Adv. D.I. 40] (Appendix A000369-A000387).

 F.      Bankruptcy Court Ruling [Adv. D.I. 63 & 64]
         On November 12, 2021, the Trustee filed his Motion for Summary Judgment

 [Adv. D.I. 43 & 44] (Appendix A000388-A000389, respectively) and supporting

 Statement of Undisputed Facts [Adv. D.I. 45] (Appendix A000422-A000434) and

 Declaration of Bradford Sandler [Adv. D.I. 46] (Appendix A000435-A001427).

 Plaintiffs filed their Opposition [Adv. D.I. 49] (Appendix A001428-A001652). The

 Trustee filed his Reply in support of the SJ Motion [Adv. D.I. 52] (Appendix

 A001653-A001692).

         On March 21, 2022, the Bankruptcy Court issued its Opinion and Order,

 pursuant to which the Bankruptcy Court granted the Trustee’s SJ Motion,

 specifically ruling that (i) the “liquidating fiduciary” exception under the WARN

 Act does not apply to the instant case; (ii) the “unforeseen business circumstances”

 exception under the WARN Act applies in this case; and (iii) the COVID-19

 pandemic falls within the “natural disaster” exception under the WARN Act.


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         Plaintiffs appealed the Opinion and Order on or about April 4, 2022 [Adv.

 D.I. 66] (Appendix A001723-A001727). The Trustee filed his Notice of Cross-

 Appeal pursuant to 28 U.S.C. § 158(a) and Bankruptcy Rules 8001 and 8002 [Adv.

 D.I. 72] (Appendix A001728-A001732).                      The Trustee cross-appeals only that

 portion of the Opinion that found that the “liquidating fiduciary” exception does not

 apply to the facts set forth in the Adversary Proceeding and the Order only to the

 extent it incorporates that portion of the Bankruptcy Court’s Opinion holding that

 the “liquidating fiduciary” exception to alleged WARN Act liability was

 inapplicable. See Opinion, at pp. 13-19.

                                            ARGUMENT

            AVF Was A Liquidating Fiduciary At The Time Of The Layoff And
           Was Thus Not Subject To The WARN Act Pursuant To Binding Third
                                   Circuit Precedent

         The Third Circuit Court of Appeals has specifically held that where, as here,

 a chapter 11 debtor-in-possession has ceased operating as a going concern and is

 merely conducting a liquidation, it is not operating a “business enterprise” and is

 therefore not, an “employer”36 subject to the WARN Act. In re United Healthcare

 System, Inc., 200 F.3d 170, 178 (3d Cir. 1999), cert denied, 530 U.S. 1204 (2000).37


 36
    The WARN Act defines an “employer” is “any business enterprise that employs (A) 100 or more
 employees, excluding part-time employees; or (B) 100 or more employees who in the aggregate work at
 least 4,000 hours per week (exclusive of hours of overtime).” 29 U.S.C. § 2101(a)(1).
 37
    The Department of Labor, the agency responsible for interpreting and implementing WARN Act
 requirements, has explained in connection with its regulations that “DOL agrees that a fiduciary whose sole
 function in the bankruptcy process is to liquidate a failed business for the benefit of creditors does not
 succeed to the notice obligations of the former employer because the fiduciary is not operating a ‘business
 enterprise’ in the normal commercial sense.” 54 Fed. Reg. 16042, 16045 (Thurs., April 20, 1989).


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 United Healthcare is binding on courts in the Third Circuit. The Bankruptcy Court

 erred by incorrectly construing and applying United Healthcare to this case.

         In United Healthcare, the creditors’ committee argued that the debtor-in-

 possession -- a hospital that ceased operating and terminated nearly all of its 1,300

 employees 16 days after the petition was filed -- was not an “employer” under the

 WARN Act. The Third Circuit Court of Appeals agreed, reasoning:

                  [W]e find that United Healthcare, as the fiduciary in bankruptcy
                  proceedings, was operating not as a “business operating as a
                  going concern,” but rather as a business liquidating its affairs. On
                  February 18, 1997, United Healthcare surrendered its certificates
                  of need; on February 19, it filed a voluntary bankruptcy plan
                  under which it would liquidate its assets and cease to exist; and,
                  no later than February 21, United Healthcare had discharged or
                  transferred all of its patients and was no longer admitting new
                  patients. Significantly, after February 19, but in any event no
                  later than February 21, its employees were no longer engaged in
                  their regular duties but instead were performing tasks solely
                  designed to prepare United Healthcare for liquidation.
                  We recognize that United Healthcare filed for Chapter 11
                  bankruptcy, ordinarily used to reorganize, rather than Chapter 7
                  bankruptcy, generally used to liquidate. But as discussed,
                  United Healthcare’s actions from the time it filed its Chapter
                  11 petition throughout the proceedings clearly demonstrate
                  its intent to liquidate. Simultaneously, United Healthcare filed
                  for bankruptcy, agreed to sell its assets and goodwill to St.
                  Barnabas, and surrendered its certificates of need. Had United
                  Healthcare’s conduct and activities demonstrated a bona fide
                  effort toward reorganization, the evidence may have shown that
                  United Healthcare was an “employer” subject to the WARN Act.
                  We believe this analysis is consistent with the legislative purpose
                  behind WARN. . . .




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 200 F.3d at 178 (emphasis in bold added).38 The United Healthcare court noted the

 indisputable point that the debtor in possession in that case (like the Debtors in the

 prior Chapter 11 Cases) was a fiduciary to the bankruptcy estate and its creditors

 generally, including in connection with the liquidation of the debtor’s business and

 assets. Id. at 177 n.9.

          Importantly, the United Healthcare court underscored that the application of

 the liquidating fiduciary exception would not be black and white in many bankruptcy

 cases, and that the reviewing court’s determination would be subject to a sliding

 scale:

                  In light of the Department of Labor commentary to the regulations
                  and the cases cited, we believe that whether a bankrupt entity is an
                  “employer” under the WARN Act depends on the nature and
                  extent of the entity’s business and commercial activities while in
                  bankruptcy, and not merely on whether the entity’s employees
                  continue to work “on a daily basis.” The more closely the entity’s
                  activities resemble those of a business operating as a going
                  concern, the more likely it is that the entity is an “employer” the
                  more closely the activities resemble those of a business winding


 38
    Other courts have similarly recognized the “liquidating fiduciary” principle. See, e.g., Thielmann v. MF
 Global Holdings Ltd. (In re MF Global Holdings Ltd.), 481 B.R. 268, 272 (Bankr. S.D. N.Y. 2012) (“The
 U.S. Department of Labor (‘DOL’) and federal courts addressing WARN Act claims have recognized a
 ‘liquidating fiduciary’ principle, excepting from the protection of the WARN Act employee layoffs by
 liquidating fiduciaries.”); Walsh v. Century City Doctors Hosp., LLC (In re Century City Doctors Hosp.,
 LLC), 417 B.R. 801, 804-05 (Bankr. C.D. Cal. 2009), aff’d 2010 Bankr. LEXIS 5048 (B.A.P. 9th Cir. Oct.
 29, 2010) (holding a chapter 7 trustee who operated a hospital for a few days post-petition (pursuant to an
 order authorizing him to do so) before terminating its employees was not an “employer” under the WARN
 Act based on United Healthcare where it was clear from the record that the “trustee’s intentions have
 consistently been to close the hospital business at the earliest reasonable time and to liquidate its assets for
 the benefit of its creditors. The trustee only operated [the debtor] for approximately a week from the date
 of filing, and the trustee’s brief operation of [the debtor] was not for any commercial purpose.”); Bailey v.
 Jamesway, 1997 Bankr. LEXIS 825, at *40 (Bankr. S.D.N.Y. 1997) (“liquidating fiduciaries need not
 provide notice to terminated employees under the WARN Act”).




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                  up its affairs, the more likely it is the entity is not subject to the
                  WARN Act.

 Id. at 178 (bold emphasis added). The Third Circuit expressly viewed the sale of the

 debtor’s assets including the debtor’s goodwill to an unrelated party named “St.

 Barnabas” (the “St. Barnabas Sale”) early in the chapter 11 case as part and parcel

 of, and consistent with, the debtor’s liquidation which was subject to the liquidating

 fiduciary exception:

               (i)   “United Healthcare … filed an emergency application [to the
         bankruptcy court] for the sale of its goodwill to St. Barnabas” (id. at 173);

                (ii) “United Healthcare’s actions from the time it filed its Chapter 11
         petition throughout the proceedings clearly demonstrate its intent to liquidate.
         Simultaneously, United Healthcare filed for bankruptcy, agreed to sell its
         assets and goodwill to St. Barnabas ….” (id. at 178); and

               (iii) “[Following the bankruptcy filing], [debtor] ceased operating its
         business as a going concern and was simply preparing itself for liquidation.
         The bankruptcy plan it filed simultaneously with its Chapter 11 petition
         confirms this assessment: United Healthcare planned to sell its goodwill to St.
         Barnabas and would itself cease to exist. Given these prospects and the
         absence of any evidence United Healthcare structured its bankruptcy petition
         and the furlough of its employees to avoid WARN Act liability, we hold
         United Healthcare was no longer subject to the WARN Act when it furloughed
         its employees” (id. at 179).

 In short, the Third Circuit did not view a debtor’s liquidation process in a chapter 11

 case, including a postpetition sale of the debtor’s goodwill (i.e., a going concern

 sale),39 as the conduct of business “in the normal commercial sense” that would


 39
   St. Barnabas, as a result of and after the bankruptcy sale, intended to keep the debtor’s children hospital
 open. See In re United Healthcare Sys., 1997 U.S. Dist. LEXIS 5090, at *19 (D.N.J. March 26, 1997) (St.


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 make the entity an employer for WARN purposes. See id. at 177 (quoting “normal

 commercial sense” language from 54 Fed. Reg. at 16045). Rather, it viewed the

 debtor as “simply preparing itself for liquidation.” 200 F.3d at 179.

         Notwithstanding the United Healthcare opinion’s focus on the question of

 whether the debtor was conducting its business in the “normal commercial sense,”

 in reaching its determination in this case, the Bankruptcy Court was primarily – and

 incorrectly – concerned with purportedly how “the Debtors’ orderly wind-down

 process contemplated continued postpetition operations.”                         Opinion, at 19.

 According to the Bankruptcy Court:

                  The Debtors’ GOB Sales are a perfect example of a hybrid of
                  engaging in business (i.e., continuing operations with its
                  employees for the retail sales of goods) while liquidating at the
                  same time. Also, as the Plaintiffs point out, the Levin LOI called
                  for the continued operation of approximately 44 retail store
                  locations and two related distributed centers pending the proposed
                  sale. In this case, the Debtors intended to continue their operations
                  in the Chapter 11 bankruptcy case for the benefit of creditors and,
                  based on these facts, the Court concludes that the Debtors were
                  subject to an employer’s WARN obligations. The “liquidating
                  fiduciary” exception does not apply to this case.
 Id. (footnotes omitted).

         Yet, as discussed above, the United Healthcare court acknowledged there

 would be gradations on the liquidating fiduciary scale and that a debtor’s actions in




 Barnabas “was committed to keeping the Children’s Hospital in one location and providing $5 million in
 future investments”). See also Newark Morning Ledger Co. v. United States, 734 F.Supp. 176, 182 (D.N.J.
 1990), rev’d on other grounds, 945 F.2d 555 (3d Cir. 1991) (“Goodwill is acquired by the purchase of
 a going concern where the transfer enables the purchaser to step into the shoes of the seller.”).


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 connection with and/or in preparation of a goodwill / going concern sale (including

 limited postpetition business operations) can be consistent with and part of the

 liquidating fiduciary function and exception to WARN liability.40 In sum, the

 Bankruptcy Court’s reading and application of all of the elements of United

 Healthcare was overly narrow and erroneous.

         Here, as in United Healthcare, the Debtors’ actions from the beginning of the

 Chapter 11 Cases (and before) evidence a clear, open, and public intent from the

 outset to liquidate the Debtors’ stores and other assets, and not to operate their

 business “in the normal commercial sense.” See 54 Fed. Reg. 16042, 16045 (Thurs.,

 April 20, 1989). As discussed above, all of the Debtors’ efforts at reorganizing as a

 going concern stopped even before the Petition Date, and in fact, all of the Debtors’

 efforts prepetition to reorganize were unsuccessful. As a result of this failure, and

 before the Petition Date, the Debtors hired the Liquidator, gave the GOB Sale

 WARN Notice and commenced GOB Sales, and issued a public statement telling

 the world that they were liquidating their assets. When the Debtors ultimately filed

 their Chapter 11 Cases on March 8, 2020, they intended to, and did, continue

 liquidating their assets through the GOB Sales and the Levin Sale. As of the Petition



 40
    The healthcare/hospital industry in which the debtor in United Healthcare was involved is certainly
 different from the retail furniture industry in which the Debtors were involved, with respect to what
 constitutes liquidating and wind-down activities and regulatory requirements and aspects related thereto.
 Thus, it is not surprising that some specific details of United Healthcare’s liquidation are different from the
 Debtors’ liquidation as occurred in the Debtors’ Chapter 11 Cases, but nonetheless, both United Healthcare
 and Art Van intended to promptly liquidate their assets in their respective chapter 11 cases, thus falling
 within the liquidating fiduciary exception.


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 Date, and before the Layoff, the only business activities to be conducted by the

 Debtors were those necessary to continue liquidating their assets.

         Under the clear facts in this case, there can be no reasonable dispute that the

 Debtors were at all relevant times – both pre-Petition Date and post-Petition Date –

 liquidating, as opposed to operating their business in the normal commercial sense,

 which they stopped doing before the Petition Date and certainly did not do in these

 Chapter 11 Cases. As described above, the Debtors intended to be and were acting

 as liquidating fiduciaries before the Petition Date and at the time of the March 20,

 2020 Layoff. Therefore, as a matter of Third Circuit law, the Debtors were not

 “employers” under the WARN Act, and as such, summary judgment on the

 liquidating fiduciary defense should have been entered in favor of the Trustee.

                                    CONCLUSION

         Cross-Appellant respectfully submits that the Opinion and the Order are

 predicated on a flawed reading of the United Healthcare case and application thereof

 to the instant case. As such, the portion of the Opinion and the Order that held that

 the “liquidating fiduciary” defense under the WARN Act was inapplicable here

 should be reversed.




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  Dated: June 21, 2022            PACHULSKI STANG ZIEHL & JONES LLP

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                                          MEMORANDUM

   TO:            Employees Affected By Closing of Art Van Furniture Stores located at 6500 E
                  14 Mile Rd, Warren, MI, 48092; 27775 Novi Rd, Novi, MI, 48377; 4375 28th
                  St SE, Grand Rapids, MI, 49321; 4095 E Court St, Burton, MI, 48509; 14055
                  Hall Rd, Shelby Township, MI, 48315; 8748 W Saginaw Hwy, Lansing, MI,
                  48917; 4273 Alpine Ave Nw Ste B, Alpine, MI, 49321; and 1021 Butterfield
                  Rd. Downers Grove, Ilinois, 60515.

   FROM:          Cathrine Wenger, Senior Counsel

   SUBJECT:       WARN Act Notice (revised)

   DATE:          March 19, 2020

        On March 5, 2020, Art Van Furniture, LLC (the “Company”) informed employees that it had
   made the difficult decision to wind-down its operations, to include the closure of its retail facilities
   located at 6500 E 14 Mile Rd, Warren, MI, 48092; 27775 Novi Rd, Novi, MI, 48377; 4375 28th
   St SE, Grand Rapids, MI, 49321; 4095 E Court St, Burton, MI, 48509; 14055 Hall Rd, Shelby
   Township, MI, 48315; 8748 W Saginaw Hwy, Lansing, MI, 48917; and 4273 Alpine Ave Nw Ste
   B, Alpine, MI, 49321, which would in the permanent termination the employment of all employees
   at these locations.

           Since initial notice, the Company has been impacted by the novel COVID-19 virus and the
   resulting, and sudden, negative economic impact. Due to these unforeseen events, the Company
   can no longer support the wind-down of its retail operations through the originally projected
   termination date. The Company, therefore, submits this revised notice to you to satisfy any
   obligation that may exist under the federal Worker Adjustment and Retraining Notification Act,
   29 U.S.C. § 2101 et seq. (the “WARN Act”).

            All terminations of employment will be permanent and you will not have bumping rights
   for other positions (i.e., you will not have the right to displace employees with less seniority). The
   employment of Art Van’s sales associates and other commissioned employees, visuals,
   housekeepers, drivers, helpers, and other hub warehouse staff, Selling Managers and Outlet
   Managers as well as any Sales or Store Manager who is not scheduled to perform services on
   March 21, 2020 or March 22, 2020, will be terminated on March 20, 2020. All CPU’s and office
   staff, along with the Store Manager and/or Sales Manager scheduled to work on March 21, 2020
   or March 22, 2020 will be terminated at the end of the business day on March 22, 2020. Nothing
   in this letter alters your at-will employment status with the Company. You will be required to
   work through your Termination Date, following which date you will not be required to report to
   work or provide any services to the Company.

          I will be acting as the Company’s representative with regard to these matters. Should you
   have any questions, please contact me for further information at Cathrine Wenger, Senior Counsel,
   cwenger@artvan.com, (586) 983-2000. My address is 6500 E 14 Mile Rd, Warren, MI 48092.

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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

 IN THE MATTER OF                                    :       CHAPTER 7
                                                     :
 Art Van Furniture, LLC                              :       Case No. 20-10553 (CSS)
                                                     :
          Debtor.                                    :



       NOTICE TO INTERIM TRUSTEE/ TRUSTEE OF SELECTION IN AN ASSET CASE


 TO:     Alfred T. Giuliano


         You are hereby notified of your appointment in an asset case as Interim Trustee/Trustee of
 the estate of the above named debtor. The amount of your bond has been fixed by the United States
 Trustee. You are required to notify T. PATRICK TINKER, ASSISTANT UNITED STATES
 TRUSTEE, at J. Caleb Boggs Federal Building, 844 King Street, Suite 2207, Wilmington, DE.
 19801 in writing within (5) days after receipt of this notice only if you reject this case.


                                              ANDREW R. VARA
                                              UNITED STATES TRUSTEE, REGIONS 3 & 9
                                              T. PATRICK TINKER
                                              ASSISTANT UNITED STATES TRUSTEE

 DATED:         April 7, 2020




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